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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

JANE DOE NO. 1                            §
                                          §
      Plaintiff,                          §
                                          §
vs.                                       § CIVIL ACTION NO. _______________
                                          §
TEXAS CHRISTIAN UNIVERSITY,               §
TEXAS CHRISTIAN UNIVERSITY BOARD §
OF TRUSTEES, DR. DIANE SNOW,              §
DR. FREDRICK W. GOODING, DR. ROB          §     JURY DEMAND
GARNETT, DR. DARRON TURNER,               §
RUSSELL MACK, J.D.,                       §
and AARON CHIMBEL                         §
                                          §
      Defendants.                         §
____________________________________________________________________________

                                        COMPLAINT

       Plaintiff Jane Doe No. 1, by and through the undersigned attorneys, files this Complaint

against Texas Christian University and Texas Christian University Board of Trustees alleging as

follows:

                                         INTRODUCTION

       1.     This lawsuit is about a private university in North Texas that has historically

been—and remains—bigoted, narrow-minded and hypocritical in its treatment of racial

minorities and women while ostensibly advancing higher education.              Texas Christian

University’s (“TCU”) legacy of discriminatory treatment of racial minorities and women is

arresting and serves as the backdrop to the facts underlying this Complaint. Indeed, the case at

bar is the culmination of over a century of hateful campus culture gone unchecked. TCU’s most

recent public and targeted displays of bigotry have claimed its latest victim in twenty-year-old




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Jane Doe No. 1, an award-winning African-American young woman enrolled in TCU’s Honors

Program.

       2.      This Complaint recounts (1) TCU’s hateful legacy in its own words and actions as

proudly published in its official records; (2) the fraudulent and self-serving Diversity, Equity &

Inclusion (“DEI”) campaign and accompanying degree program recently launched by TCU

designed to induce racial minorities and women, like Jane Doe No. 1, to enroll in the university

despite its hateful legacy and present conscious contempt for minorities and women; and (3) a

series of acts or omissions by TCU designed to relegate Jane Doe No. 1 and other racial

minorities and women to a status of second-class citizen on TCU’s campus and at TCU-

sanctioned activities in Washington, D.C. in violation of federal and state law. Consistent with

TCU’s historical treatment of minorities and women, over the course of nearly two-years, Jane

Doe No. 1 has been subjected to: (1) harassment from her professors and university staff,

including unwelcomed physical contact; (2) public embarrassment in the presence of university

professionals and her peers, including comments about Jane Doe No. 1’s physical appearance

and weight; (3) reckless disregard to Jane Doe No. 1’s health decline resulting from her

participation in university-sanctioned activities; (4) disparate treatment in her academic pursuits,

including the unexplained revocation of a merit-based scholarship and being subjected to racially

disparate grading practices, resulting in the loss of course credits; and (5) retaliation for her

formal and informal complaints about TCU’s treatment of herself and other similarly-situated

minorities, to name just a few of the incidents detailed herein. These incidents were so severe

and pervasive that they created unimaginable psychological and physiological pain and harm to

Jane Doe No. 1, including causing her to contemplate taking her own life on more than one

documented occasion. TCU’s medical staff informed TCU’s administration of Jane Doe No. 1’s




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distress and rather than work to ameliorate its hateful behavior towards Jane Doe No. 1, TCU

doubled down.

       3.       Had TCU not launched a fraudulent DEI campaign and accompanying degree

program in 2016, in an apparent attempt to mask its true legacy, Jane Doe No. 1 would have seen

the glaring reality of historic and systematic racial and gender inequities at TCU. Because of

these misrepresentations, however, Jane Doe No. 1 has endured unconscionable treatment.

                                 JURISDICTION AND VENUE

       4.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1331 because

this lawsuit arises under the Constitution, laws or treaties of the United States. Specifically, this

lawsuit involves conduct by TCU, which violates Title VI of the Civil Rights Act of 1964, 42

U.S.C. §§ 2000d through 2000d-6, Title IX of the Education Amendments Act of 1972, 20

U.S.C. §§ 1681 through 1687, Section 504 of the Rehabilitation Act of 1973, 29 U.S.C § 794,

and Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12181 through 12189.

       5.       This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)(2) Plaintiff

and Defendants in this case are citizens of different U.S. States and the amount in controversy

exceeds $75,000.00, excluding interests and costs.

       6.       This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) because

the state law claims at issue are so related to the federal claims mentioned above, they form part

of the same case or controversy under Article 3 of the U.S. Constitution. Specifically, based

upon the same facts associated with its violations of federal law, TCU’s conduct also constitutes

Texas common and statutory prohibitions against fraud, negligence, assault, intentional infliction

of emotional distress, false imprisonment, violations of the Texas Deceptive Trade Practices Act,

civil conspiracy and breaches of fiduciary duty and warranty.




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       7.      Venue is proper in the United States District Court for the Northern District of

Texas pursuant to 28 U.S.C § 1931(b)(1) and (2) because all Defendants reside within this

judicial district and are residents of the state of Texas and because a substantial part of the events

or omissions involving TCU, which give rise to Jane Doe No. 1’s claims occurred in this judicial

district. Additionally, and in the alternative, venue is also proper in this Court because each

Defendant is subject to personal jurisdiction with respect to this lawsuit in this district.

                              PARTIES AND KEY INDIVIDUALS

       8.      Jane Doe No. 1, resides in Tarrant County, Texas during the academic year but is

otherwise domiciled Oklahoma.

       9.      Defendant Texas Christian University (“TCU”), is a Texas corporation and

private university that receives federal financial assistance and is therefore subject to federal civil

rights and educational law. Defendant TCU may be served with process by serving its registered

agent for service of process, Victor Boschini Jr., 2800 South University Drive, Fort Worth,

Texas 76129, or wherever he may be found.

       10.     Defendant Texas Christian University Board of Trustees (“TCU Board”), is a

Texas business that does business in Tarrant County, Texas. TCU’s registered office is located

in Tarrant County, Texas. Defendant TCU Board may be served with process by serving its

chairman, Mark L. Johnson, at 2800 South University Drive, Fort Worth, Texas 76129, or

wherever he may be found.

       11.     Dr. Diane Snow is the Dean and Wassenich Family Endowed Chair of the John V.

Roach Honors College at TCU. She may be served with process at 2600 West 7th Street, Apt.

1709, Fort Worth, Texas 76107, or wherever she may be found.




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         12.    Dr. Frederick W. Gooding is the Assistant Professor of African American Studies

in the John V. Roach Honors College at TCU. He may be served with process at 4200

Bridgeview Drive, Apt. 123, Fort Worth, Texas 76109, or wherever he may be found.

         13.    Dr. Rob Garnett is the Associate Dean and Honors Professor of Social Sciences of

the John V. Roach Honors College at TCU. He may be served with process at 2604 Shirley

Avenue, Fort Worth, Texas 76109, or wherever he may be found.

         14.    Dr. Darron Turner is the Chief Inclusion Officer and Title IX Coordinator, and the

Deputy Affirmative Action/Equal Employment Opportunity Officer at TCU. He may be served

with process at 12637 Viewpoint Lane, Fort Worth, Texas 76028, or wherever he may be found.

         15.    Russell Mack, J.D. is an instructor of strategic communications at TCU he may be

served with process at 4706 Shadywood Lane, Colleyville, Texas 76034, or wherever he may be

found.

         16.    Aaron Chimbel is the Dean of the Jandoli School of Communication at St.

Bonaventure University. He may be served with process at 3261 West State Road, Murphy

Professional Building, Room 202, St. Bonaventure, NY 14778, or wherever he may be found.

         17.    Dr. Teresa Abi-Nader Dahlberg is the Provost and Vice Chancellor for Academic

Affairs.

         18.    Dr. Gene Alpert is the Vice President of the Osgood Center for International

Studies.

                                   STATEMENT OF FACTS

           I.   A legacy rooted in hatred is promoted and preserved.

         19.    TCU cannot seriously contend that bigotry, hatred, and disparate treatment are

anything less than part of its DNA.       TCU was founded by brothers and Officers of the




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Confederate Army, Addison and Randolph Clark.1                   When Addison Clark and his brother

Randolph Clark, the cousin-in-law of confederate General Robert E. Lee, 2 lost their fight not

only to maintain the right to own human-beings of African-descent as slaves but also to expand

the practice of slavery West, the Clark bothers sought employment as professors at public Texas

institutions.3 Because of their treasonous involvement as Officers in the Confederate Army

during the Civil War, however, the Clark brothers were unable to secure employment at federally

funded public schools.4 So, in 1873, the Clark brothers decided to open a private university

where their ideologies and allegiances were accepted: TCU. Thereafter, TCU would become an

incubator for precisely the brand of hatred and bigotry promoted by the high-ranking

Confederate Clark brothers during their involvement in the Civil War. Indeed, from its founding

through the time of the filing of this lawsuit, TCU has remained consistent in its treatment of the

racial minorities and women of its community as second-class citizens; promoting and

preserving its legacy of bigotry and hatred.

         II.     Act I. Environs of T.C.U. Temple of Education, except for the “nigger.”

        20.      The branding of TCU as a persistently bigoted institution is no exaggeration. In

its earliest documented history, TCU regularly published racist ideologies and minstrel

depictions of African Americans and promoted the racist acts and activities of its student body,

faculty and staff. An examination of TCU’s earliest available publications provides context for

the initial and persisting racial environment at TCU.

        21.      In 1908 the Skiff, the university paper, provided commentary on a recent football

game, publishing that a TCU player “waded thru [sic] [the 10-yard line] like a nigger goes thru

1
  Kirk Tochov, TCU, PERSONAL TCU, http://personal.tcu.edu/ktochov/TCU.html (last visited Dec. 1, 2019).
2
  Addison Clark, THE INTERPRETER, February 1927, at 3.
3
  Tochkov, supra.
4
  Id.




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[sic] a watermelon.”5 In 1909 the Skiff, reflected fondly on a university event wherein the

speaker, “…gave a graphic description of the horrors of the Reconstruction.” 6 How “negroes

and carpet baggers ruled the country and of the final return of the white man to his own through

the aid of the Ku Klux Klan and like agencies.” 7 In 1910 the Skiff published a biblical origin

story of Adam, the first man formed by God, which in part discussed Adam’s carefree existence

in Eden in contrast to the concerns of the day. Specifically, the Skiff stated Adam,

                didn't have to anchor his smokehouse to the center of gravity with
                a log chain, set a double barreled bear trap in the donjon to keep
                off his hennery, nor tie a brace of pessimistic, pugilistic bull dogs
                in his melon patch, for the nigger with his adjustable morals
                and omnivorous mouth had not yet arrived on the scene. 8


        22.     The following year the Skiff casually noted that at a particular campus event, a

TCU student “had more announcements than a nigger's dog had fleas.” 9

        23.     In 1919, TCU’s yearbook commemorated a well-attended TCU event in May

when “the Ku Klux Klan certainly was revived” during “the finest shirt-tail parade [TCU] ever

saw!”10

        24.     TCU also regularly promoted minstrel depictions of African Americans. Again, in

1919 the Skiff published a “Hallowe’en” article that begins, “[l]aw, law, chile, but this nigger

sure am tired.”11 The article only becomes more damning from there, depicting an African-


5
  Editorial, SOUTHWESTERN TOO! Another Addition to Varsity’s Long List of Victims Bloor’s Linebucking The
Feature Game Somewhat Marred By Penalties, SKIFF (North Waco), Nov. 18, 1908, at 1
6
  Herbert Bozeman, Editorial, Tomlinson the Winner of Blind Contest—First Place Closely Contested in Both
Composition and Delivery, SKIFF (North Waco), Mar. 19, 1909, at 1.
7
  Id.
8
  Grundy W. Stevenson, Opinion, Ideas of Plain Democrat, SKIFF (North Waco), Apr. 15, 1910, at 2 (emphasis
added).
9
  Howard B. Dabbs, Editorial, Annual Shirley Program: The Yearly Open Session Was Held Last Friday Evening,
SKIFF (Fort Worth), May 25, 1911, at 1.
10
   15 TEXAS CHRISTIAN UNIVERSITY, The Horned Frog 147 (1919).
11
   Beulah Bell, Editorial, SOCIETY: Halloween Party Given, SKIFF (Fort Worth), Oct. 5, 1919, at 3.




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American simpleton cleaning behind white students and in search of a “Free Chicken Dinner.” 12

TCU’s 1920 yearbook even features a play titled “A Pageant,” which “portrayed the happenings

of the College Year 1919-1920.” 13 The fifty-one-page play features only two characters of color

who appear in Act I. Environs of T.C.U. Temple of Education: the “negro bell hop” who speaks

in stump speech and the other, a “kitchen scullion with ebony face.” 14 TCU’s openly hateful

depiction of African Americans in its earliest years was so pervasive that to catalogue them

all in this lawsuit would be a physically exhausting exercise. Suffice it to say, however, that

the bulk of TCU’s publications through the 1960s detail TCU outings, including trips into the

city to “witness one of the greatest Ku Klux Klan parades ever held in the South,” 15 incidents of

persons defacing posters with the word “nigger” when prominent African Americans were

invited to campus16 and regularly published blatantly racist articles, poems, and illustrations,

including Hambone’s Meditations17, the minstrel comic strip that Judge and civil rights leader

Benjamin Hooks admonished as a “total and colossal indifference to negroes and their

accomplishments.”18




                       Figure 1. Negro bellhop as featured in The   Figure 2. Hambone’s Meditations excerpt as
                       Horned Frog 118 (1920).                      featured in the SKIFF (Fort Worth), Sept., 1923.



12
   Id.
13
   16 TEXAS CHRISTIAN UNIVERSITY, The Horned Frog 91 (1920).
14
   Id. at 118.
15
   Thos E. Dudney, Editorial, K.K.K., SKIFF (Fort Worth), Feb. 20, 1922, at 4.
16
   Lonn Taylor, Opinion, Letter to the Editor, SKIFF (Fort Worth), Nov. 4, 1960, at 4.
17
   J.P. Alley, Hambone’s Mediations, SKIFF (Fort Worth), Sept. 25, 1923, at 3.
18
   Michael K. Honey, Going Down Jericho Road: The Memphis Strike, Martin Luther King’s Last Campaign 128
(W.W. Norton & Co., Inc., 2007).




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        25.     Minstrel depictions published by the university seemed to disappear by the time

TCU fully integrated in 1964 (which in itself is reprehensible), 19 but its hateful ideologies

toward, and disparate treatment of racial minorities and women only became more visible.

        III.    Admitted but not equal.

        26.     In 1963, the Skiff published that “racial reins seemed a part of University

policy…” and reported that students were “particularly concerned that racial background does

restrict any scholastically qualified students from participation in some parts of [TCU’s]

academic program.”20 In response to student concerns, TCU cautioned student leaders that

“[TCU] ha[d] exhausted the usefulness of any campus-wide [discussions] on the topic of

integration” and that the same “might be ‘misconstrued’ by persons off campus.” 21 In 1964,

ninety-one years after its founding, and only after “feeling the heat” to comply with federal

mandates, TCU totally integrated, but for years to come African Americans were not allowed to

take part in general school affairs and even now African Americans are not treated equally at or

by TCU.22

        27.     By the late sixties, with the subjects of decades of its disdain now allowed on

campus, TCU’s culture of hate took on new life. TCU proudly displayed its bigotry and hate for

the African-American members of its own community and also towards its African-American

visitors in every facet of the university experience. In one incident in 1967, Southern Methodist

University star wide receiver (now Texas Sports and College Football Hall of Famer) Jerry


19
   Nyshicka Jordan, Integration Now, IMAGE, March 2004, at 16 (Chancellor Moudy on integration—“We were late
in doing it. It was past time.”).
20
   Mary Martin, Editorial, Academic Restriction Target of Resolution, SKIFF (Fort Worth), Dec. 6, 1963, at 1.
21
   Mary Martin, Editorial, Easy Race Barriers, TCU Congress Asks, SKIFF (Fort Worth), Dec. 6, 1963, at 3.
22
   Nyshicka Jordan & Kelly Morris, Color Contrast, IMAGE, March 2004, at 13.




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LeVias, an African American, had death threats made against him for daring to set foot in TCU’s

Amon G. Carter stadium in a game against TCU. 23 During the game LeVias was spat at by a

TCU player who tackled him to the ground and “uttered a racial slur at LeVias as the two got up

from the turf.”24 LeVias quit the game and retreated to the SMU sideline in tears. 25 TCU’s

response to its own African-American students who dared attempt to participate in social

activities as equals was—and remains—equally chilling. In 1969, Ronnie Hurdle, a student at

TCU in search of an “opportunity to be more involved in mainstream college life” tried out for

the cheerleading squad and became TCU’s first African American cheerleader. 26 As his reward

for attempting to spread campus glee and cheer his team to victory, the same night he celebrated

making the squad Hurdle returned to his dorm room to learn of hours of harassing phone calls

from persons asking to speak to “the nigger” and threatening to beat him up. 27 Hurdle was then

targeted by “long-time supporters of TCU” challenging “whether he was allowed to touch a

white female cheerleader” and treated to “hurried conferences over compromises” between

himself and the university Chancellor.28 An entire year later, in 1970, TCU finally decided to

allow Hurdle to touch his fellow white female cheerleaders.29

        28.      Off the field, social activities and campus life were also “still somewhat

segregated” as TCU’s fraternities and sororities contained clauses restricting the admission of




23
   Jordan, supra, at 17.
24
   Charles H. Martin, Benching Jim Crow: The Rise and Fall of Color Line in Southern College Sports, 1890-1980
197 (2010); Jordan, supra, at 17.
25
   Steve Campbell, LeVias Now Making a Difference Off Playing Field, HOUSTON CHRONICLE (Sept. 22, 2008),
https://www.chron.com/sports/college/article/LeVias-now-making-a-difference-off-playing-field-1782142.php.
26
   Nyshicka Jordan & Kelly Morris, Color Contrast, IMAGE, March 2004, at 13.
27
   Id.
28
   Margaret Downing, Editorial, 100 Years White, Only 9 Black, DAILY SKIFF (Fort Worth), Jan. 18, 1973, at 8.
29
   Id. (emphasis added).




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“Jews or Negroes.”30 And as late as 1980, “none of [TCU’s traditional fraternities and sororities]

had any Negro members.”31

        29.      Dorm life for African Americans at TCU fared no better. In 1968 Ivory Dansby,

an African-American woman living on campus, complained that TCU prohibited African-

American women from sharing dorms with white women. 32 Dansby reported that “…[TCU] had

white girls living three-to-a-room and, at the same time, Negroes were living alone.” 33 Dansby

also recalled her dorm mother calling her “my favorite colored girl” and regularly inviting her

“over to her house [to] do housework” and wash windows. 34 Dansby’s degrading experience

existed beyond the dorm room as well. Dansby recalls hearing “one of [her] prof’s [sic] say

Nigra N-I-G-R-A” and that to her it sounded “like a prof's[sic] been saying nigger all his life and

just can't quite bring himself to say Negro.''35 TCU carried its culture of isolation and disparate

treatment of African Americans into the seventies, and that culture persists today.

         IV.     TCU’s culture facilitates the adultery of an illicit intercourse between
                 injustice and immorality.

        30.      In fact, Herman Wright’s first experience when he arrived on campus in 1971,

was that a succession of three white roommates “bolted” from their dorm assignments, when

they realized Wright was an African American.36 Wright “spent the rest of the year with no

roommates.”37 In a 2016 interview, Wright acknowledged that there were “a ton [of obvious

issues with race relations on TCU’s campus]” and described his experience at TCU as very tough



30
   Frank Lewis, Editorial, Greeks Proud of Unity, SKIFF (Fort Worth), Jan. 17, 1969, at 2.
31
   Id.; Chris Kelley, Editorial, TCU Turns to Racist Charges, TCU DAILY SKIFF (Fort Worth), Sept. 3, 1980, at 1.
32
   Judy Buchholz, On Breaking the Negro Cycle, WAKE, May 1968, at 13.
33
   Id.
34
   Id.
35
   Id.
36
   Johnny Livengood et al., Editorial, Walkout Spurs Black Outcry, SKIFF (Fort Worth), Feb. 5, 1971, at 1.
37
   Id.




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and very isolating.38 Wright was not alone. That same year four African-American athletes

voluntarily removed themselves from TCU’s athletic program in a “walkout” citing “racist

attitudes among general and athletic administrations,” including arbitrary comments, rules and

dress code targeting the physical appearance of the African-American athletes and the denial of

food to one of the African-American athletes at the training table—conduct which persists

today.39 The walkout “triggered a chain of demands” that were presented to the press by

African-American students concerning the attitudes of bigotry toward racial minorities at TCU—

again, attitudes that persist today.40

        31.      In response to a list of demands produced by African-American students, TCU

created a “Black Studies” minor to pacify the students in an apparent attempt to halt racial

complaints; a play TCU would recycle whenever confronted with student demands flowing from

its racist and sexist treatment of its racial minorities and women. 41 It did not work then, and TCU

should have known its most recent insincere attempt at solving racial issues by creating degree

programs rather than confronting directly its insidious practices would not work now. 42 By the

late eighties, the “Black Studies” minor disappeared. 43 Ultimately, all of the aforementioned

African-American athletes withdrew from TCU.44

        32.      TCU’s treatment of African Americans had deteriorated so far that in 1974 the

TCU chapter of the National Association for the Advancement of Colored People (“NAACP”)

filed two race and sex discrimination charges against TCU for its conduct in discriminating

38
   Wright / Herman Wright Discusses TCU, TCU (June 29, 2016), https://crbb.tcu.edu/clips/5262/herman-wright-
discusses-tcu.
39
   Id.
40
   Ariana Williams, Wall of Integration Highlights History of Campus Inclusion, TCU 360 (Sept. 11, 2019),
https://www.tcu360.com/2019/09/wall-of-integration-highlights-history-of-campus-inclusion/.
41
   Id.
42
   Lucy Calvert, Editorial, Awareness Starts in Class, TCU DAILY SKIFF (Fort Worth), Apr. 20, 1998, at 1.
43
   Id.
44
   Livengood et al., supra.




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against African Americans in “employment, admissions, and certain student organizations.” 45

One glaring aspect of the NAACP’s charge was the complaint that TCU paid its racial minority

and women employees less money for the same work as its white employees—a practice TCU

continues to this day.46

        33.      As a result of these charges, in October of 1974, the United States announced that

it would send civil rights officials to investigate TCU’s treatment of and practices against racial

minorities.47 Ultimately, federal investigators substantiated the NAACP’s claims of

discrimination at TCU.48          Coincidentally—in yet another display of TCU’s total lack of

sensitivity towards its African-American community—in October of 1974, TCU’s Forums

Committee invited David Duke, Grand Dragon of the Klu Klux Klan to speak at the University. 49

African-American students and a group of African-American ministers protested that Duke’s

very presence was intimidating to a number of students and to the African-American students

was a direct “slap in the face,” especially in light of the recently filed NAACP discrimination

complaints.50 TCU’s Dean of Students approved Duke’s appearance even while admitting the

likelihood that “Duke’s speech would reinforce the views of racists or adversely influence those

who had no definite views.”51 After weeks of continued protests from African Americans both

within and outside TCU, TCU finally withdrew its invitation to Duke to speak on campus. 52 A



45
   Editorial, HEW to Probe Bias Charges, DAILY SKIFF (Fort Worth), Oct. 24, 1974, at 1; Lisa Deeley,
Editorial, Second Discrimination Charge Filed: University Could Lose $1.5 Million, DAILY SKIFF (Fort Worth),
May 2, 1974, at 1.
46
   Editorial, Affirmative Action reports: Minority [sic] Employees Few, Paid Little, DAILY SKIFF (Fort Worth), May
3, 1974, at 1.
47
   Lia Deeley Smith, Editorial, HEW to Probe Bias Charges, DAILY SKIFF (Fort Worth), Sept. 6, 1974, at 1.
48
   Lia Deeley Smith, Editorial, HEW to Probe Bias Charges, DAILY SKIFF (Fort Worth), Sept. 24, 1974, at 1.
49
   Robert Bobbins, Editorial, Forums Votes to Invite Klansman, DAILY SKIFF (Fort Worth), Nov. 5, 1974, at 1.
50
   Id.; Loretta Gamble, Letter to the Editor, Readers React to Klan Controversy, DAILY SKIFF (Fort Worth), Nov. 6,
1974, at 2; Al Sibello, Editorial, Klan Speaker Cancelled, DAILY SKIFF (Fort Worth), Nov. 13, 1974, at 1.
51
   Robert Robbins, Editorial, Speaker Panel OK’s Duke’s Visit, DAILY SKIFF (Fort Worth), Nov. 8, 1974, at 1.
52
   Id.




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few weeks later, however, TCU’s House of Student Representatives reopened the invitation to

Duke.53

        34.      Towards the end of the seventies TCU was still—and remains—engulfed in

complaints of disparate treatment from its racial minorities and women. A university study in

the spring of 1976 revealed that of the African Americans surveyed “67.5 percent were

dissatisfied with the way they were treated on TCU’s campus;… 42.5 percent felt their life at the

University [was] generally worse than the life of the average white student;…and 15 percent said

white students would not socialize with them.” 54 TCU’s racist and bigoted conduct prevailed in

the classroom, too. In 1977, one nursing student complained that “she and other blacks were

discriminated against in grading by faculty members of [TCU’s] Nursing school” and yet another

African-American student “was reportedly advised by a professor to drop out of school

altogether” when they challenged the grade they received in a course, which they believed was

due to disparate grading—a practice and culture that persists at TCU to this day. 55 The Dean of

the nursing school dismissed these claims as “just a rumor, coloring the truth.” 56

          V.     TCU’s famous apathy makes racism in the hearts of a few a very real threat.

        35.      By the eighties, TCU proved that it could take bigotry and hate to international

and unimaginable heights. In an address to student leaders in 1980, TCU’s Chancellor admitted

that “the full privileges of the campus” did not “appear to be available” to African-American

students; specifically noting that “it seems hardly accidental for no blacks to be pledged in Greek

organizations in 25 years.”57 TCU student leaders responded that they “discriminate every time


53
   Editorial, Klansman May Get Second Chance, DAILY SKIFF (Fort Worth), Nov. 21, 1974, at 2.
54
   Cindy Cook, Editorial, Black—White: Do Both Have Problems?, DAILY SKIFF (Fort Worth), Feb. 4, 1977, at 4.
55
   Id.
56
   Id.
57
   Opinion, Chancellor Discusses Discrimination at TCU, TCU DAILY SKIFF (Fort Worth), Sept. 3, 1980, at 2.




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rush rolls around,” and that as a “private social organization [they] have that right,” one even

stated that “[i]t's always been separate but equal. Why should it change?” 58 A TCU lawyer

disagreed and even called on TCU to fulfill its obligations to investigate racism on campus. 59

        36.     In the very same publication, a student reported that he had been running on the

athletic field around the track preparing for a track meet when someone yelled to him, “nigger!”

The student’s recitation of the facts and the Skiff’s reporting of the student response provides

insight into just how persistent TCU’s legacy of bigotry was and continues to this day:

                There was an uncomfortable silence as one of them related an
                experience to the others. He said he had been running on the
                athletic field around the track preparing for a track meet. He
                chuckled lightly as he remembered. “I was practicing for track and
                I had never in my life been called a nigger... I was here for two
                weeks and someone yells at me ‘Hey, nigger!’” His listeners
                giggled, some with hinted recognition, others with discomforting
                embarrassment. “I didn't know if I should go home. I wondered if
                the Ku Klux Klan was going to get me or what. In mv upper
                educational life I have had to face more racism than ever in my
                life. I was president of a predominantly white Jewish high school
                class with a black principal." The room was quiet again. They
                realized what the popular track player was implying. They
                remembered the reasons they had come together to meet. "I never
                experienced racism before I came here..." 60


Neither had Jane Doe No. 1 nor undoubtedly countless other racial minorities and women at

TCU.

        37.     The point conveyed here—since its founding TCU has been a breeding ground for

a particular sort of hate; one that has served as an introductory to the harshest racial sentiments;




58
   Chris Kelley, Editorial, Greek Problems Sprouted Early but Branched Now, TCU DAILY SKIFF (Fort Worth),
Sept. 4, 1980, at 1.
59
   Id.
60
   Virginia Vanderlinde, Editorial, Book Learning Does Not Always Rule Out Bigotry, TCU DAILY SKIFF (Fort
Worth), Sept. 3, 1980, at 4 (emphasis added).




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one that was present in 1873, again in 1980 and again today as evidenced by the experience and

treatment of Jane Doe No. 1 in this case.

        38.      That same year, history seemed to repeat itself as it has been proven to do at TCU.

In September of 1980, five foreign athletes quit TCU’s soccer team citing disparate treatment

after the long-time TCU soccer coach held “a secret practice []—just for the American

players.”61

        39.      The culture of isolation and white supremacy that TCU carried with it through the

sixties was sustained through the eighties and continues to prevail today. For instance, in 1984,

“a white athlete broke a national track record and the [track] team got the key to the city. A year

later when the [track] team members were all black, they broke a world record and a national

record and went undefeated in every track meet in which they participated, they got a plastic

trophy from TCU.”62 A member of the all African-American team recalled, “They brought us to

the athletic banquet just to humiliate us.”63 “I'll never forget how hurt I was,” he said. 64

        40.      And in 1988, racial minorities at TCU reported that “[w]hen you sit down next to

white students, they move with a quickness as if you bite.” 65 Another student of color reported

that “his history professor asked him on the first day of class if he was going to do enough in his

class to get a C.” “That said to me that he didn't think I could do much better than a C,” the

student said.66 By this time, international students also revealed that they were isolated at TCU.

Indeed, Mahilet Bekele, the International Student Association President reported that TCU

makes one “more aware that you are being judged by what you look like and not who you are,

61
   Editorial, 5 Soccer Players Quit, TCU DAILY SKIFF (Fort Worth), Sept. 19, 1980, at 4.
62
   Yvonne Webb, Editorial, Multicultural Illusions Prevail, TCU DAILY SKIFF (Fort Worth), Apr. 19, 1988, at 1.
63
   Id.
64
   Id.
65
   Id.
66
   Id.




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and it's a challenge not to be affected by it, because if you let it, it can drown you.” 67 Bekele

likely could not have imagined the prediction she was making at the time.

        41.      Also, in 1988, Elena Hicks, president of TCU’s Black Student Caucus, reported

that “racism at TCU is more subtle than some of the overt racism of the past,” but that “[i]f you

are the least bit sharp you know what the hell is going…[i]t won’t get by you.”68 That year racial

minorities also reported that “the hostility they feel from the environment and the lack of role

models causes them to question their own self-worth” and question “how can [one] do as well (in

this environment) when [they] have to deal with academic pressure, social pressures and

racism?”69 This student’s question remains unanswered today. Another student summed up the

sentiments of racial minorities and women and their treatment at TCU at the time by plainly

stating, “TCU could very well be compared to a toilet. Toilets are dirty by design, and so is

TCU.”70

        42.      That same year TCU’s Minority Affairs Director admitted that “the psychological

barriers facing minority students are as limiting and more painful” than physical barriers. 71

Despite this admission, TCU’s Minority Affairs Director dismissed racial minority students’

sincere complaints of campus hostility towards them as “more perceived than real.” 72 This could

not have been more untrue. TCU’s response also verified that, as the Skiff reported, when

students report incidents of race related violence or harassment, “[o]ne of the first responses

from administrators and police is to deny the problem exists”—a culture and practice which



67
   Id.
68
   Id.
69
   Yvonne Webb, Editorial, Minorities Encounter Bias Racism, TCU DAILY SKIFF (Fort Worth), Apr. 22, 1988, at 1.
70
   Kristie Aylett, Editorial, Students Rally to End Racism, TCU DAILY SKIFF (Fort Worth), Apr. 19, 1988, at 1
(emphasis added).
71
   Webb, supra.
72
   Id.




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persist today.73 Regina Anderson, an African-American student, highlighted the pervasiveness

of such practices in stating, “[she] could handle the racism if the school would just acknowledge

that its here.” “They need to say ‘yes, we are bigots,’ and deal with it,”74 Anderson said.

Anderson was correct in 1988 and remains correct today.

        43.      TCU’s racist culture and the horrors associated with it in the eighties are not

exclusive to its student population. In 1987 renowned civil rights activist and minister, Reverend

Jesse Truvillion, an African-American faculty member at TCU received a letter on TCU’s

campus that included:

                 such things as a pseudo-prescription from Dr. Josef Mengele, the
                 infamous Nazi who performed grotesque medical experiments on
                 “racially inferior” prisoners in World War II. It also include[d] a
                 mock boat ticket for a one-way trip to Africa. It isn’t just blacks
                 who are meant to go on this trip “on a leaky boat shaped like a
                 Cadillac and filled with bananas.” Also invited are federal judges,
                 communists, homosexuals…about the only type of person who
                 would not fit into one of its many categories is an uneducated
                 white male from the South or a submissive woman who knows her
                 place…The message presented here is Southern white male
                 supremacy as a way of life imposed upon all people. 75

This remains TCU’s message today.

        44.      Though TCU is not a university noted for its concern for minorities—“TCU’s

famous apathy makes racism in the hearts of a few a very real threat.”76 This threat

materialized against Truvillion in 1988 when he was approached by two white males yelling

obscenities at him and yelling, “you’re a dead cat, buddy.” 77 At the time, Truvillion was on


73
   Id.
74
   Id. (emphasis added).
75
    Michael Hayworth, Opinion, Ignoring Racism and Bigotry Only Helps the Disease Grow, TCU DAILY
SKIFF (Fort Worth), Apr. 22, 1987, at 2.
76
    Id. (emphasis added).
77
   Yvonne Webb & Kristie Aylett, Editorial, Activity No Game to Some, TCU DAILY SKIFF (Fort Worth), Apr. 7,
1988, at 1.




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campus hosting African visitors with whom he was protesting TCU’s refusal to divest from racist

South African businesses supporting apartheid. 78 Later, that day, Truvillion found a black cat

with its throat slit dying on top of his vehicle.79 According to Truvillion, “[w]hen you deliver a

black cat to someone, it has a very specific meaning,” “[i]f you deliver it alive, it means you are

not considered human. If it's delivered dead, it means they intend to kill you.” 80 In the end, no

eyewitness came forward and TCU failed to identify the individuals responsible, much less hold

anyone accountable for the heinous act.81 Truvillion poignantly stated, that in an environment

such as TCU’s you “just don't get throats of cats slashed, but you get the throats of people's

humanity slashed”82 Truvillion’s sentiments still ring true today.

        45.      TCU’s racial minorities and women staff were also not exempt from TCU’s

harassing culture. In 1988 a knife and death threat card, among other bizarre items were left for

Lovie Bradley, a housekeeper at TCU. When asked who she thought left the items for her to find

on her utility cart in a locked room, Bradley responded that she “think[s] it’s people who…have

a deep hate for [her] race.”83 Bradley is African American. TCU never identified the culprit. 84

         VI.     Racism is a quiet but consistent part of life at TCU.

        46.      TCU’s sordid legacy continued to materialize through the nineties as it still does

today. In 1992, Michelle Smith, an African American student at TCU reported on the complete

insouciance with which members of TCU’s community dished out racial epithets, without

reprimand:



78
   Id.
79
   Id.
80
   Id.
81
   Id.
82
   Suzanne Lorton, Editorial, Students Speak Against Racism, TCU DAILY SKIFF (Fort Worth), Apr. 20, 1988, at 1.
83
   Leanora Minai, Editorial, Occult Objects Found, TCU DAILY SKIFF (Fort Worth), Apr. 22, 1988, at 1.
84
   Id.




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        This conversation may be heard frequently; I heard it at one of my
        organizational meetings:
        "Gosh, did you lay out today?" one girl asked emphatically.
        "A little. Am I that tan?" she asked the other.
        "Yeah, you are dark, you nigger!"
        The girls then laughed, and I was standing right there. The girls were so
        preoccupied with themselves and their fake blackness that they failed to realize
        that someone with the attribute they were seeking was standing just behind them.
        Nigger, I thought. Hmmph! I chuckled. 85


Smith was writing for herself as well as her “other African American sisters” who “hear these

less-than-informed comments on a daily basis” at TCU.86 Smith correctly noted that such

attitudes were “a very PUBLIC concern” in 1992 as they remain today. 87

        47.      In 1994, “someone scrawled the words ‘Nigger #1’ and ‘Nigger #2’ in paint on

two doors in a fraternity house on TCU’s campus.”88                  When the fraternity president was

questioned about it he stated puzzlingly that “he didn’t think the words were meant in a racist

context…,” that the “word nigger can be used in a casual way” and that he “really didn’t care”

who did it.89

        48.      In 1997, history yet again repeated itself. That year the Skiff revived TCU’s

legacy of racist cartoon imagery when it mocked racial minorities and their complaints about

racism:90




85
   Michelle Smith, Opinion, Historical Ethnic Notions Must Change, TCU DAILY SKIFF (Fort Worth), Apr. 28, 1992,
at 3 (emphasis added).
86
   Michelle Smith, Letter to the Editor, Racism, TCU DAILY SKIFF (Fort Worth), May 1, 1992, at 3 (emphasis
added).
87
   Id.
88
   Editorial, INTOLERANCE Racist Attitudes Have No Place at TCU, TCU DAILY SKIFF (Fort Worth), Oct. 4, 1994,
at 5.
89
   Id.
90
   Stacy L. Henderson, Letter to the Editor, Racial Cartoon Misleading, TCU DAILY SKIFF (Fort Worth), Feb. 14,
1997, at 3.




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                                             Figure 3. “Six Degrees of Racism
                                             Accusation” as featured in TCU DAILY SKIFF
                                                               1997.
        49.      Stacey Henderson, said the following of the cartoon, “as an African-American

student, the sight of this cartoon shocked and troubled me. That there could be anyone who does

not understand the reason why African Americans and other groups continue to protest is a

dangerous situation.”91

        50.      Later that year the Skiff reported the obvious: that “[r]acism is a quiet but

consistent part of life at TCU” that “manifests itself in many ways: an off-hand remark, a

quickened pace, a misguided assumption;” and “often leaves portions of the campus scarred and

divided.”92 Within the report, several racial minorities and women at TCU shared their many

experiences with extreme racism, racial profiling and bigotry. 93 Illogically and laughably even,

TCU responded that the racially bigoted attitudes conveyed by the students “had been brought in

from the outside” to TCU.94 The reality, however, is that bigotry and racism are common

fixtures at TCU. That same year, Pete Radovich, a white student, spoke out against the bigotry


91
   Id.
92
     Blake Sims, Editorial, Black & White: A Look at TCU Race Relations, TCU DAILY SKIFF (Fort Worth), Feb. 25,
1997, at 9 (emphasis added).
93
    Id.
94
    Id.




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and racism he had seen “[t]hroughout [his] time as a TCU student” in the form of casual racist

attitudes on campus and “members of the community proudly sporting Confederate flags in their

rooms and on their vehicles.” 95 In response to condemning the very Confederate Flag bore by

TCU’s founders, the Clark Brothers, Radovich received five death threats, was called a “mother

f—ing nigger lover!” and warned that if he spoke out again, he’d be killed. 96

       VII.      Even TCU’s Chancellor, Victor Boschini disapproves of TCU’s race relations
                 and diversity.

        51.      As TCU entered the twenty-first century, its brand of racism and bigotry towards

racial minorities and women evolved. In 2000, “several white TCU students celebrated their

fourth annual Martin Luther King Jr. birthday party. The group dressed in baggy jeans, wore T-

shirts with the words ‘talk to the hand’ on them, and were adorned in shower caps with condoms

tucked underneath. They proceeded to watch the film “Menace II Society” and ate fried chicken

and watermelon.”97 When another group of white TCU students were asked how they were going

to celebrate Black History Month they replied: “I'm going to KFC;” “[w]ell, I play football with

a black guy;” and “I have relatives in Jasper.”98

        52.      In 2002, a group of African-American students were standing outside fixing a

disabled car when a group of white students began pummeling the students with water balloons

and yelling “niggers!” at them from a nearby building. Bizarrely, despite the white students

yelling “niggers,” a clear racial epithet, TCU’s Associate Dean of Campus Life said that “he

ha[d] no basis to judge whether or not the incident was racially motivated.” 99



95
   Id.
96
   Id.
97
   Rusty Simmons, Editorial, Acts of Racism, Ignorance Not Far from University, TCU DAILY SKIFF (Fort Worth),
Feb. 25, 2000, at 1.
98
   Id.
99
   Skiff Staff, Editorial, Prank Under Investigation, TCU DAILY SKIFF (Fort Worth), Feb. 22, 2002, at 1.




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         53.    Even TCU’s Chancellor, Victor Boschini disapproves of TCU’s race relations

and diversity. When asked directly about racial relations and diversity at TCU in a 2004 Skiff

article titled, Integration Now, Chancellor Victor Boschini said “TCU has a long way to go, but

that the commitment is there” and that he “would give [TCU] an ‘A’ for efforts and intentions

and a ‘C plus’ for actual reality on campus.”100 A decade later, under Chancellor Boschini’s

leadership, that ‘C plus reality’ would deteriorate to a solid ‘F.’

        VIII.   TCU is an institution with layers of back and front of stage racism from
                students, faculty and administration.

         54.    Beginning in 2010, the advent of the social media era gave members of TCU’s

community and particularly racial minorities and women a new and public platform from which

to expose and address the persistence of TCU’s legacy of hatred and bigotry. In 2014, some

TCU students began posting offensive comments about African Americans on the social media

app, Yik Yak.101 “End black entitlement. End black privilege,” and “Blacks were unable to get

proper educations…but, that’s more a result of their busted families and lack of morals…” and

“watch the blacks,” were among some of the comments made on Yik Yak. 102 The incident once

again drew national attention to the racist and bigoted culture that prevails at TCU. A TCU

spokesperson called the comments a “reality check that the university is not where it needs to be

as a community.”103 In truth, TCU has never been “where it needs to be” with respect to its




100
    Nyshicka Jordan & Kelly Morris, Color Contrast, IMAGE, March 2004, at 13.
101
    Robbie Owens, TCU Hosts Campus Rally Against Racism, CBS LOCAL (Apr. 30, 2015, 5:15 PM),
https://dfw.cbslocal.com/2015/04/30/tcu-hosts-campus-rally-against-racism/.
102
    Id.; Gilma Avalos, TCU Looks to Change Tone After Racist Comments, CBS LOCAL (Apr. 30, 2015, 10:07 PM),
https://dfw.cbslocal.com/2015/04/30/tcu-looks-to-change-tone-after-racist-comments/.
103
    Gilma Avalos, TCU Responds to Racist Student Comments on Social Media, CBS LOCAL (Apr. 29, 2015, 9:53
PM), https://dfw.cbslocal.com/2015/04/29/tcu-responds-to-racist-student-comments-on-social-media.




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treatment of racial minorities and women. In another Yik Yak incident that same year, students

at a predominately African-American fraternity pool party were called monkeys. 104

         55.         The oppressive and isolating experience of racial minorities and women became

so pervasive in 2016 that the hashtag #beingaminorityatTCU went viral on popular social media

platform, Twitter.105 Racial minorities and women shared their experiences on campus stating

that “#BeingAMinorityAtTCU [is] [v]aluing the education that you receive but not feeling

valued on campus” and “#BeingaMinorityatTCU is being labelled “negative” and “ungrateful”

because        you     care   about   issues   concerning     race/White      privilege/oppression”      and

“#BeingaminorityatTCU [is] having to make a hash tag to let our feelings out because we don't

feel safe enough to do so on campus,” to name a few. 106 The #BeingaminorityatTCU hashtag

and movement it inspired resulted in the “Black Students and Allies of TCU” delivering a list of

demands to TCU and the media, together, with a letter calling on administrators to make the

campus more inclusive.107 As the letter poignantly noted for the racial minorities and women on

campus, “[f]eeling a sense of alienation along with trying to maintain a high grade point average

and remain involved on campus creates unnecessary burdens that can hurt students in the long

run.”108

         56.         After several weeks of negotiations, TCU responded by (1) creating a “Cabinet

Level” position: Chief Inclusion Officer; (2) launching and publishing the creation of a

Diversity, Equity & Inclusion (“DEI”) committee and accompanying campaign, including an


104
    Garrett Podell, Boschini Addresses Racial ‘Ignorance’ at TCU, TCU 360 (Feb. 1, 2018),
https://www.tcu360.com/2018/02/boschini-addresses-racial-ignorance-at-tcu/.
105
    #Beingaminorityattcu, TWITTER, https://twitter.com/hashtag/BeingAMinorityAtTCU?src=hashtag_click (last
visited Dec. 5, 2019).
106
    Id.
107
    Ryan Osborne, TCU Plans to Add Diversity Official After Students Send Demand Letter, FORT WORTH STAR-
TELEGRAM (Oct. 19, 2016, 9:17 AM), https://www.star-telegram.com/news/local/fort-worth/article109136667.html.
108
    Id.




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award and fellowship; and (3) resurrected a move from its 1971 playbook, by approving a new

major to pacify its racial minority students: Comparative Race & Ethnic Studies (“CRES”). 109

Through these late-to the party initiatives, TCU represented that it was “a welcoming community

that embraces diversity in all of its forms” and that it had “put in place measures to create a more

balanced learning community.”110 This was a material misrepresentation at an institution of

higher learning specifically intended to entice racial minorities and women, like Jane Doe No. 1,

to apply for admission to and enroll at TCU.111 Jane Doe No. 1 in this lawsuit relied on such

representations to her detriment as did undoubtedly countless other racial minorities and women

when they applied for admission to and/or enrolled at TCU. In light of its legacy as extensively

detailed herein, however, TCU knew or should have known that such representations were

untrue. Though convincing to gullible racial minorities, these ceremonious gestures proved

empty, and even CRES—the very degree program approved in response to student outcry over

racism and bigotry—is riddled with complaints of bias and disparate treatment. In fact, upon

reliable information and belief, TCU’s Chief Inclusion Officer and Title IX coordinator, Dr.

Darron Turner, has received multiple emotional complaints from both current and former faculty

and students regarding pervasive discrimination and harassment of racial minorities and women

designed to completely undermine their success in CRES and TCU. One African American

student even took to Twitter in November 2018 with the hashtags #BoycottCRES and

#CallOutColonizers to express his frustrations with a CRES professor who admitted he was “a




109
    Id.
110
    Victor Boschini, Jr., Letter from the Chancellor, TCU, https://inclusion.tcu.edu/about/letter-from-the-chancellor/
(last visited Dec. 6, 2019); Resources, TCU, https://inclusion.tcu.edu/resources/ (last visited Dec. 6, 2019).
111
    Id.




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little bit racist” and that he has “been scared before walking at night if [he] see[s] a group of

black men walking in [his] direction.” 112

         57.     As if TCU’s insincerity in publishing the aforementioned DEI campaign and

approving the CRES major was not clear enough, merely one year after starting the CRES

program TCU announced that it was moving CRES out of the established AddRan (presumably

named for Confederate Officers, and founders Addison and Randolph Clark) College of Liberal

Arts to an “interdisciplinary unit.” Included in this “interdisciplinary unit” are programs such as

Women and Gender Studies, Ranch Management, as well as FrogFolio and the Idea Factory, all

programs which, upon information and belief, rank low in priority at TCU.113 This smacks of

TCU’s 1971 play in creating a Black Studies minor—a promise which evaporated. One African

American and CRES major puts it best, “[f]or them to go move us, from AddRan, which is an

established, credible college within TCU, to move [CRES] into this new interdisciplinary

unit, whatever that is, is like a slap in the face.”114 TCU cannot seriously contend that it had

any true intentions of following through with the representations it made in response to student

protests, which it used to advertise and market to racial minorities and women, including Jane

Doe No. 1.

         IX.     In every decade since its founding, there has been clear evidence of the
                 pervasiveness of TCU’s hatred of racial minorities and women.

         58.     Predictably, nothing has changed at TCU. Racism, hate, and bigotry remain

fixtures of TCU and pervade every orifice of its existence. TCU’s conduct has caused and

continues to cause real pain and physical harm to TCU’s racial minorities and women. Upon


112
    Elizabeth Campbell, CRES Negotiates Move to Interdisciplinary Unit Amid Student Resistance, TCU 360 (May
2, 2018), https://www.tcu360.com/2018/05/cres-negotiates-move-to-interdisciplinary-unit-amid-student-resistance/.
113
    Id.
114
    Id. (emphasis added).




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reliable information and belief, TCU’s Chief Inclusion Officer and Title IX coordinator, Dr.

Turner was recently made aware that hateful classroom and campus treatment of racial

minorities and/or women at TCU was so severe and pervasive it caused psychological and

physiological harm to those racial minorities and women, including in at least one case the

development of type 1 diabetes, which is caused by life-changing/stressful events. Jane Doe No.

1 in this lawsuit has also suffered psychological as well as physiological harm as a result of

TCU’s hateful treatment of racial minorities and women.

         59.     In every decade since its founding, there has been clear evidence of the

pervasiveness of TCU’s hatred of racial minorities and women. Even TCU star athletes are not

exempt from the psychological and physiological manifestations of hate toward racial minorities

and women on campus. Recently, former TCU wide-receiver Kolby Listenbee, an African

American, filed suit against TCU for, among other things, the harassment and humiliation he

faced after an on-the-field injury.115 Listenbee was publicly ridiculed and humiliated by TCU

athletic staff who made him switch seats and sit in the back of the plane rather than with his

fellow starting seniors in first-class and was told that he would not only be dismissed from the

TCU football team, but also from TCU itself if TCU were to lose a football game during his

injuries.116 TCU even suggested he may be lying or “faking it.” 117 We now know (as we have

always known) that Listenbee, like other racial minorities and women at TCU, are not lying or

faking it. The hatred racial minorities and women endure and the harm that results are very real

as emphasized by Jane Doe No. 1’s experience made basis of this lawsuit.


115
    Micheal McCann, Breaking Down Kolby Listenbee’s Lawsuit Against TCU, Gary Patterson and the Big 12,
SPORTS ILLUSTRATED (Feb. 1, 2018), https://www.si.com/college/2018/02/02/kolby-listenbee-lawsuit-tcu-gary-
patterson-legal-analysis.
116
    Id.
117
    Id.




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        X.    TCU’s legacy of hatred assails the humanity of racial minorities and women,
              like Jane Doe No. 1.

       60.    Jane Doe No. 1 is a twenty-year-old African-American young woman and award-

winning honors student at TCU. As the daughter of two veteran United States military officers,

hard work, perseverance, truth and justice are a part of Jane Doe No. 1’s DNA.

       61.    Before attending TCU, Jane Doe No. 1 excelled academically while being a star

high school and collegiate athlete. While still in high school Jane Doe No. 1 pursued a rigorous

academic program, which included completing college level courses and earning dual credits at

her local community college while participating actively in social organizations and athletics.

Upon graduation from high school Jane Doe No. 1 was offered and accepted a scholarship to a

university several hundred miles from home. By all accounts, prior to her experiences at TCU,

Jane Doe No. 1 was a confident, warm, inviting, and spirited young woman who took great pride

in herself, her work and her academic abilities and had no preexisting psychological malady.

       62.    At her initial university Jane Doe No. 1 excelled academically and athletically.

As she became more immersed in her academic courses, Jane Doe No. 1 decided she no longer

wanted to remain a college athlete. Instead, she desired an academic experience that would offer

an intellectual challenge within a balanced and welcoming community. In the Fall of 2017 Jane

Doe No. 1 began searching for a competitive university to which she could transfer to prepare

her for a rigorous graduate study program—a goal complicated by acts and omissions of TCU.

       63.    Jane Doe No. 1’s search led her to TCU. Jane Doe No. 1’s research included her

review of TCU’s website and marketing materials, specifically, the representations made via

TCU’s website about its elaborate DEI initiatives and accompanying incentives. Jane Doe No. 1

applied to TCU believing it offered an egalitarian experience for all students. Through its DEI

program, TCU promoted itself as an institution committed to fostering a campus culture that



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fully supports cultural exchange and diversity.118 The DEI strategic plan itself touts that its

objective is to attract, teach, reach, and embrace “under-represented students, especially

students of color,” like Jane Doe No. 1. 119 TCU’s effective marketing, including its DEI

initiative did attract Jane Doe No. 1 and undoubtedly countless other racial minorities and

women. As Jane Doe No. 1 would learn soon after her enrollment, however, TCU’s promises

were gross misrepresentations. Indeed, Jane Doe No. 1 has experienced none of the core values

TCU publicly expressed. Instead, Jane Doe No. 1’s collegiate experience has been engulfed by

TCU’s legacy of bigotry and hatred and marred by a series of hateful and discriminatory acts

perpetrated by TCU for over a century and designed to relegate Jane Doe No. 1 and other racial

minorities and women to the status of second-class citizen.

            XI.      TCU continues to endorse relegating racial minorities and women to the
                     status of second-class citizen in its housing practices.

            64.      Jane Doe No. 1’s first experience when she arrived on campus on January 15,

2018, was that her original roommate—a young white woman—had taken all available closet,

desk and common space in the room to herself and relegated Jane Doe No. 1 and all of her

belongings solely to a bed in the corner. Jane Doe No. 1 asked her new roommate to remove her

belongings from Jane Doe No. 1’s closet and make space in shared portions of the room, but her

roommate refused. When Jane Doe No. 1 complained to TCU that her white roommate had

commandeered the entire room, including the closet, desk and lounge space intended for a

second roommate; leaving Jane Doe No. 1 with only a place to lay her head, TCU responded,

“what’s wrong with that” and questioned if Jane Doe No. 1 really “had that much stuff.” Jane

Doe No. 1 was shocked by this response and demanded that she be moved to a room where she


118
       Strategic Plan, TCU, https://inclusion.tcu.edu/about/strategic-plan/ (last visited Dec. 16, 2019).
119
      Id. (emphasis added).




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would not be bullied into sharing the bed with her belongings. TCU begrudgingly complied.

True to form, despite having a student population of approximately over 70 percent whites, Jane

Doe No. 1 was moved to a room with another racial minority. Ironically, this incident occurred

exactly three years before the original filing date of this lawsuit and on Martin Luther King Jr.’s

birthday.

             XII.   Racial minorities and women, like Jane Doe No. 1, are admitted but not
                    equal at TCU.

       65.      Before transferring to TCU Jane Doe No. 1 had maintained a 4.0 GPA and met

other transfer student requirements. Accordingly, she was eligible for a merit-based transfer

scholarship, which TCU notified Jane Doe No. 1 that she had been awarded in January of 2018.

Though already enticed to enroll at TCU by the numerous misrepresentations made about its

legacy, present campus culture and environment, the award of the transfer scholarship cemented

Jane Doe No. 1’s belief that TCU was the place to pursue her academic and professional goals.

Because TCU’s tuition and living costs are exorbitant—yet another barrier for racial minorities

and women— the merit-based transfer scholarship would cover a substantial amount of the fees

and costs associated with attending TCU and increased Jane Doe No. 1’s excitement about her

pending transfer.

       66.      Unfortunately, Jane Doe No. 1’s excitement would be short-lived. After Jane Doe

No. 1 began her classes, TCU, without explanation, revoked Jane Doe No. 1’s merit-based

transfer scholarship. TCU’s stated excuse was that at the time of application, Jane Doe No. 1

failed to meet the merit-based requirements. By way of explanation TCU furnished, via email,

the revised requirements to Jane Doe No. 1 that differed from the requirements published on




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TCU’s website.120         Nonetheless, Jane Doe No. 1 clearly exceeded the requirements for

consideration for a merit-based transfer scholarship both at the time of her application (as

evidenced by her initial award) and at the time of the revocation of her scholarship award. To

date, Jane Doe No. 1 has received no clear answer as to why the merit-based transfer scholarship

awarded to her was revoked.

         67.     When her scholarship was revoked Jane Doe No. 1 was already attending classes

at TCU. Faced with the burden of paying for TCU without assistance, Jane Doe No. 1 was

forced to apply her parents’ G.I. Bill benefits (the military educational benefits her parents

earned for their honorable service as United States military officers) to pay her TCU expenses.

Jane Doe No. 1 intended to utilize the G.I. Bill for her graduate studies but because TCU

reneged on its merit-based transfer scholarship, Jane Doe No. 1 will no longer be able to

apply this benefit to pursue her planned professional education. This was just the beginning

of the many hateful experiences of TCU’s legacy and enduring culture of bigotry and racism that

Jane Doe No. 1 would experience.

         68.     Despite TCU’s apparent lack of concern for, and response to Jane Doe No. 1’s

initial dorm experience and the revocation of her scholarship, Jane Doe No. 1 remained

undeterred. In pursuit of the academic rigor and social environment promised by TCU, Jane Doe

No. 1 applied to TCU’s John V. Roach Honors College (the “Honors College”) during her first

semester. Jane Doe No. 1 was notified that TCU’s policy, in relevant part (which is stated on its

website) was that transfer students must have a minimum of 12 graded hours at TCU before

admission to the Honors College. Specifically, during a phone call with Renda Williams, the

Honors College’s academic program specialist, Jane Doe No. 1 was informed that though she

120
   Transfer Academic Scholarships, TCU, https://financialaid.tcu.edu/types-of-aid/scholarships/transfer-academic-
scholarships.php (last visited Dec. 16, 2019).




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had the requisite GPA, she did not meet the graded hours requirement and therefore would not be

admitted that semester. Accordingly, Jane Doe No. 1 was made to wait an additional semester

before admission to the Honors College. The following semester, having maintained a stellar

academic record, Jane Doe No. 1 was admitted to the Honors College. To Jane Doe No. 1’s

surprise she learned from classmates and faculty that the Honor’s College had admitted, and

continues to admit, white transfer students who failed to meet the minimum 12 graded hours at

TCU requirement. Upon reliable information and belief TCU’s Honors College’s actual transfer

student admissions practices violate its published policy and impose unnecessary barriers on

racial minorities and women (more specifically, African Americans) designed to prevent or limit

their enrollment.

       69.      For Jane Doe No. 1 it began to sink in that at TCU “you are judged by what you

look like and not who you are.”       Nevertheless, Jane Doe No. 1 searched for and seized

opportunities to be more involved in mainstream college life at TCU.

             XIII. When racial minorities and women, like Jane Doe No. 1, decide to become
                   an integral part of TCU, racism rears its head.

       70.      In the Spring of 2018, Jane Doe No. 1 tried-out for and was selected to join

TCU’s Moot Court team. Jane Doe No. 1 was excited at the opportunity to represent TCU in

inter-collegiate competitions through the Texas Undergraduate Moot Court Association. As a

high school and collegiate athlete, Jane Doe No. 1 is experienced in working and training in

diverse team settings and knows that equitable coaching and mentorship are required to ensure

that each team member is competitive. Based upon her prior experiences outside of TCU, Jane

Doe No. 1 believed that she would receive equal training, development and access to Moot Court

coaching faculty and staff. Jane Doe No. 1, like many other racial minorities and women, had

never experienced the brand of bigotry that permeates TCU before her arrival on campus and



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could not have imagined the disparate treatment she would be subjected to on TCU’s Moot Court

team. As her reward for attempting to represent TCU as an oral advocate, TCU’s Moot Court

coach Dr. Samuel Arnold paired Jane Doe No. 1 with the only other racial minority and

segregated the two young women from the rest of the team. Jane Doe No. 1 and her teammate

were never given the same attention as their white counterparts and were regularly excluded

from and denied the full benefits of training by their Moot Court coach, Dr. Arnold. In fact, Dr.

Arnold regularly provided active, detailed and individualized coaching to the white members of

the Moot Court team while ignoring Jane Doe No. 1 and her teammate altogether. When Jane

Doe No. 1 and her teammate made several requests to meet with Dr. Arnold to review their

arguments, he refused but regularly honored the requests of TCU’s white Moot Court team

members. At competitions, Dr. Arnold would attend the oral arguments of TCU’s white Moot

Court team members to offer coaching and support and to generally cheer them on. During Jane

Doe No. 1 and her teammate’s oral arguments, however, Dr. Arnold would not even bother to

show up. On one occasion, Jane Doe No. 1’s mother attended a Moot Court competition to

support Jane Doe No. 1 and her teammate and observed the disparate and isolating treatment

they were subjected to and total lack of support they received, including Dr. Arnold totally

ignoring the two racial minority women. When Jane Doe No. 1’s mother asked Dr. Arnold if he

intended to stay for Jane Doe No. 1 and her teammate’s argument to support them and help them

as he had just done for TCU’s white Moot Court team members, Dr. Arnold replied, “No, you

are here. You can cheer them on.”

           71.     For Jane Doe No. 1 this experience with TCU’s mainstream “brought it home”

just as it did for Ronnie Hurdle in 1969. 121 As Hurdle stated of racial minority participation in


121
      Yvonne Webb, Editorial, Racism Not New at TCU, TCU DAILY SKIFF (Fort Worth), Apr. 19, 1988, at 1.




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TCU’s mainstream culture and as Jane Doe No. 1 had experienced, “when [racial-minorities]

decided to become an integral part of the system, that's when it (racism) reared its head.” 122 This

would be but one of many times racism reared its head and Jane Doe No. 1 was segregated at

TCU and treated disparately from her similarly-situated white colleagues.

                  XIV. TCU isolates, discriminates and retaliates against racial minorities and
                       women, like Jane Doe No. 1, in its employment practices.

            72.      Soon after her admission into the Honors College Jane Doe No. 1 was offered and

accepted a job in the Honors College as a desk assistant making $7.50 per hour. This job was

not a federal work study position but rather a TCU support staff position. Much like her other

campus experiences, Jane Doe No. 1 was the only African-American student worker in the

Honors College office. As the only African-American employee in the office, Jane Doe No. 1

quickly realized the glaring differences from the treatment she received and the treatment of her

white counterparts.

            73.      Jane Doe No. 1 was conveniently scheduled to work during Honors College tours

and instructed to sit at or near the reception desk so that she would be visible to prospective

students’ and their families. Once the tour concluded (even if it concluded while Jane Doe No. 1

still had hours left to work) Jane Doe No. 1 would be dismissed from her job for the day. Jane

Doe No. 1’s white counterparts were not scheduled during tours, nor were their hours cut in the

same manner as Jane Doe No. 1’s. In fact, even when Jane Doe No. 1’s white counterparts

arrived early or otherwise during Jane Doe No. 1’s scheduled work hours, the Honors College

regularly forced Jane Doe No. 1 to end her shift and leave—so long as a tour was not

scheduled—resulting in Jane Doe No. 1 receiving shamefully fewer hours than her white



122
      Id.




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counterparts. Though not her expectations, Jane Doe No. 1 regularly only worked three hours

per week while her white counterparts regularly worked 15 hours per week.

       74.     When Jane Doe No. 1 was not serving as the Honors College showpiece during

tours she was regularly scheduled to work after the conclusion of Honors College events. This

meant that when Jane Doe No. 1 arrived, she was expected to clean up after Honors College

staff, including in some instances her own fellow student counterparts. In one incident, after

Spring 2019 graduation when Jane Doe No. 1 was not even scheduled to work, the Honors

College called Jane Doe No. 1 into work to break down tables and tents and perform other

manual labor while Jane Doe No. 1’s counterparts were assigned to hand out programs. Again,

Jane Doe No. 1 was the only African-American student worker in the Honors College. Jane Doe

No. 1 refused the manual labor. Such treatment and conduct persisted while Jane Doe No. 1

worked in the Honors College, further continuing a culture that marginalizes and discriminates

against racial minorities.

       75.     TCU would later utilize their authority over Jane Doe No. 1 as an employee of the

Honors College, among other things, to retaliate against Jane Doe No. 1 for filing formal

complaints of discrimination and hostile treatment based upon her interactions with TCU faculty

and staff during a month-long summer course in Washington, D.C.—the crescendo of multiple

hateful encounters Jane Doe No. 1 would experience at the hands of the Honors College.

Specifically, on August 16, 2019, after conducting her first video interview with TCU’s Title IX

coordinator Jane Doe No. 1 was informed by Renda Williams, the Honors College academic

specialist, that Jane Doe No. 1’s work hours had been reduced from the already low average

three hours per week, to one hour per week. Jane Doe No. 1 was in disbelief.




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       76.     The Honors College was not finished. Jane Doe No. 1 would later learn that

while she was being paid $7.50 per hour, her white counterparts were being paid $9.50 per hour.

       77.     On Friday August 23, 2019, Jane Doe No. 1 was offered a “raise” of $2.00 per

hour for the new academic year by the Honors College. Jane Doe No. 1 shared the good news

that she was now making $9.50 per hour to her counterparts, who revealed to Jane Doe No. 1

that they had been making $9.50 per hour all along, including the prior year when Jane Doe No.

1 was earning $7.50 but supposedly hired to perform identical duties to her white Counterparts.

Again, at the time Jane Doe No. 1 was the only African-American student worker in the Honors

College. Tellingly, Jane Doe No. 1 received news of this “raise” only after she submitted a

formal statement and complaint to Title IX and the Campus Life Dean’s Office.

       78.     Jane Doe No. 1 had initially wondered why the Honors College offered her a job,

for which she did not apply, however, it became clear that she was not an employee but rather a

token. Sadly, this would not be the only time Jane Doe No. 1 was used as window-dressing for

TCU’s fraudulent misrepresentation of its commitment to diversity. TCU’s treatment of Jane

Doe No. 1 as an employee of the Honors College continued to deteriorate as the summer ended

and the fall semester began.

             XV.   TCU endorses a separate and unequal method of educating racial
                   minorities and women, like Jane Doe No. 1.

       79.     In the Fall of 2018 Jane Doe No. 1 enrolled in Introduction to Political Theory to

fulfill the requirements of the Honors College. Given TCU’s abysmally low enrollment of racial

minorities and women, it was not uncommon for Jane Doe No. 1 to be the only racial minority in

a course, and particularly a course that satisfies Honors College requirements. It is also not

uncommon for TCU to promote an environment and culture that constructively segregates racial

minorities from their white counterparts in the classroom. On her very first day of class Jane



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Doe No. 1—like racial minorities of TCU’s past—observed that when she sat down next to white

students, they moved with a quickness as if she had bitten them.     As instruction began Jane Doe

No. 1 soon realized that she was isolated and alone sitting across the room from her white

classmates who refused to interact with her. Jane Doe No. 1 thought that her professor, Dr.

Arnold—the aforementioned Coach of TCU’s Moot Court team—would redistribute seating

arrangements to provide all students an egalitarian learning environment. Jane Doe No. 1

overestimated TCU’s capacity for fair treatment of racial minorities and women.

       80.     Dr. Arnold made no such adjustments or corrections to the seating arrangement of

his classroom and instead would confirm and promote Jane Doe No. 1’s segregation and

isolation through his acts and omissions during the course. In fact, just as he had done during

Jane Doe No. 1’s time on TCU’s Moot Court team, Dr. Arnold again ignored Jane Doe No. 1

altogether. During course instruction, Dr. Arnold only faced the direction of, and spoke to the

white students enrolled in the course—leaving Jane Doe No. 1 to absorb instruction from the

atmosphere. Dr. Arnold also facilitated course discussions designed to humiliate and demean

Jane Doe No. 1 and other racial minorities and women. In one incident, during a class

discussion a white student turned to Jane Doe No. 1—on the other side of the room—and

stated, “all black people are on welfare” and several other ignorant and baseless comments.

Though one would think a recipient of a Ph.D. in Politics from Princeton should know not only

of the falsity of such statements, but also of his obligation as a professor to correct such baseless

and racist ideologies, Dr. Arnold did nothing. When Jane Doe No. 1 confronted Dr. Arnold

about the insensitivity and incorrectness of her white colleagues’ racist remarks and how isolated

they made her feel, he responded that he “didn’t think anything was wrong” with the comments

and questioned why Jane Doe No. 1, “was making a big deal” of the incident.




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           81.      Unsatisfied with Dr. Arnold’s response, Jane Doe No. 1 visited her Honors

College academic advisor Donna Schonerstedt to report the incident. Rather than focus on the

inappropriateness of Dr. Arnold’s conduct in isolating and humiliating Jane Doe No. 1, Ms.

Schonerstedt suggested that Jane Doe No. 1 “maybe should just switch classes” or file a formal

complaint. On a campus as racist and bigoted as TCU, the suggestion that Jane Doe No. 1

could avoid TCU’s brackish treatment by switching classes is incredible. At this point Jane

Doe No. 1 questioned “how can [she] succeed (in this environment) when [she] ha[s] to deal

with academic pressure, social pressures and racism?” 123 Ultimately, Jane Doe No. 1, exhausted

by the insults and derogatory treatment she endured and believing she was left with no other

option, withdrew from Dr. Arnold’s course.

           82.      Jane Doe No. 1 was also subjected to hostile treatment from Honors College

administration, including chiefly Dr. Diane Snow, Dean of the Honors College, multiple times

during Jane Doe No. 1’s academic pursuits at TCU. In the Spring of 2019, Jane Doe No. 1

enrolled in another course to fulfill the requirements of the Honors College: Engaging Difference

and Diversity; a course designed for the newly minted CRES department. Part of the course

requirement was a group research projected related to diversity in the Honors College. Jane Doe

No. 1’s group decided to examine TCU’s efforts to address deficiencies in minority enrollment

in the Honors College. According to the Honors College, it had adopted a holistic admissions

process, which as of Fall 2019 “considers not only standard indicators, e.g. test scores, GPA, and

rigor of high school curriculum, but also broad evidence of curiosity, motivation,

fairmindedness, and creativity through additional essays.” 124 Jane Doe No. 1’s group would

gather data relating to current diversity enrollment in the Honors College as well as interview

123
      Yvonne Webb, Editorial, Multicultural Illusions Prevail, TCU DAILY SKIFF (Fort Worth), Apr. 19, 1988, at 1.
124
      Diversity & Inclusion, TCU, https://honors.tcu.edu/about/diversity-inclusion/ (last visited Dec. 16, 2019).




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key individuals in the Honors College administration to determine the method and application of

the new purportedly holistic admissions criteria. Jane Doe No. 1’s group research project topic

was presented and approved by the course professor, but when Jane Doe No. 1’s group contacted

the Honors College in attempts to obtain data they were met with aggression and hostility from

Dr. Snow. Specifically, when Jane Doe No. 1 and her group members—all racial minorities—

contacted the Honors college to ask if they could conduct interviews with certain staff members

for their research project, Dr. Snow personally emailed the group lambasting them and telling the

students (who had never formally met her before) that she “didn’t appreciate them emailing her

staff without her knowledge,” warning them not to attempt to contact her staff directly and that

“everything goes through [her].” Jane Doe No. 1’s group was puzzled by the hostility of Dr.

Snow’s response, but because they needed to complete their group project, they worked to obtain

data and schedule interviews with key Honors College staff.

       83.    When Jane Doe No. 1’s group was finally authorized to speak with Honors

College staff for their research assignment Dr. Snow’s hostile temperament towards racial

minorities and women surfaced again. Jane Doe No. 1’s group scheduled an interview session

with the Honors College’s all white “Diversity Board”—made up of all white TCU staff,

including Dr. Snow—and the Diversity Board proceeded to monopolize the conversation nearly

the entirety of the session only leaving Jane Doe No. 1’s group time to ask no more than four

questions relevant to their extensive honors level research project. When the students began to

ask their questions, Dr. Snow became visibly more and more upset. After the group’s fourth

question, Dr. Snow abruptly and aggressively cut the interview short and then demanded that

Jane Doe No. 1 send her the entirety of the research project once completed. Dr. Snow also

warned Jane Doe No. 1’s group that she would attend their presentation in an apparent act of




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intimidation. Once the project was completed, Dr. Snow aggressively approached Jane Doe No.

1 demanding a copy of the final project. Jane Doe No. 1 informed Dr. Snow that it was her

understanding that because the assignment was a group project, she could not share her group

members’ work without their permission. Still, Jane Doe No. 1 sent Dr. Snow a summary of the

project, conclusions and recommendations including the bulk of her contributions to the same.

Dr. Snow was unsatisfied and would later continue to harass Jane Doe No. 1 about the group

project before totally dehumanizing Jane Doe No. 1 over the course of four weeks during a TCU

sanctioned Honors College trip to Washington, D.C. 125 Curiously, Dr. Snow did not ask Jane

Doe No. 1’s professor, Snow’s subordinate, for a copy of the research project or consult with her

over any concerns she had regarding the same.                   Only Dr. Snow knows why these racial

minorities’ inquiries regarding the Honors College’s diversity efforts offended her so. Dr.

Snow’s rank hostility toward and disparate treatment of Jane Doe No. 1, however, would later

confirm that Dr. Snow’s actions were driven by racial animosity and bigotry.

               XVI. TCU denies racial minorities and women, like Jane Doe No. 1, the right to
                    happiness and freedom on campus and beyond.

         84.      Indeed, Dr. Snow and Honors College faculty and staff terrorized and

dehumanized Jane Doe No. 1 through the entirety of an academic trip the following summer;

placing Jane Doe No. 1’s health and welfare in jeopardy and constructively denying her rights to

happiness and freedom.

         85.      In the Fall of 2018, Jane Doe No. 1 applied for “Honors Explorations” the Honors

College’s summer study “abroad” program. That year TCU’s Honors Explorations program had

three one-month summer destinations for Honors College students to choose from: (1) “Cultural


125
  Upon reliable information and belief, it is against Honors College practice for the Dean of the Honors College to
demand to personally review individual student’s course work prior to and following the completion of the same.




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Routes,” which toured Germany, Switzerland and Italy; (2) “Disaster, Recovery, [sic] &

Renewal: Lessons from Japan,” which toured various cities across Japan; and (3) “How

Washington, D.C. Works,” which was not at all a summer abroad, but rather a trip to the nation’s

capital and for TCU an apparent opportunity to further fraudulently promote itself as an

institution concerned with and/or committed to diversity.

       86.     Though Jane Doe No. 1 ranked the Washington domestic study program last, she

was assigned to attend. When Jane Doe No. 1 expressed her disappointment in her summer

assignment to Honors College staff, they offered no explanation as to how Jane Doe No. 1 was

selected for the domestic program despite having ranked it last. Jane Doe No. 1 declined the

Washington summer program.

       87.     In response the Honors College offered to pay for approximately 48 percent of

Jane Doe No. 1’s fee associated with the domestic program to entice Jane Doe No. 1 to go on the

trip. Jane Doe No. 1 accepted the Honors College’s offer and paid the remaining portion of the

Honors Explorations program fee. The Honors College would later hold the financial assistance

they used to entice Jane Doe No. 1 to attend the domestic program over Jane Doe No. 1’s head

before and during the trip; weaponizing the grant—among other threats—in order to restrict and

exercise control over Jane Doe No. 1. Jane Doe No. 1 would later learn that the Honors College

made a similar grant of financial assistance to another African-American Honors College student

to entice him to attend the domestic program, even though he had already completed the

Japanese study abroad program that summer.         In line with TCU’s legacy of and present

conscious contempt for racial minorities, both of these Honors College students—the only

African Americans in the program—were segregated and dehumanized for the bulk of their

domestic program experience. Upon reliable information and belief, Jane Doe No. 1 and her




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African-American classmate were forced to attend the “How Washington, D.C. Works,”

domestic program so TCU and the Honors College could hold themselves out as a diverse

institution to the public and to third parties, including the Osgood Center for International

Studies and other reputable individuals and institutions they encountered in Washington.

Tellingly, the Honors College and Osgood Center staff followed the two African-American

students around taking pictures of just the two of them the entire trip; further tokenizing them.

       88.     Jane Doe No. 1, having received a grant from the Honors College, paid the

remaining program fee and began preparing to attend the Washington program. As part of her

preparation Jane Doe No. 1, a meticulous and detailed scholar, reviewed available program

materials including the course agenda and syllabus to ensure that she fully understood the

requirements of the program and her attendance. Upon review, Jane Doe No. 1 noted that a

White House visit was scheduled as a part of the program. Jane Doe No. 1 was concerned about

this visit given the many racist ideologies of the current President of the United States—

ideologies provably shared by TCU. So, prior to her departure for Washington Jane Doe No. 1

met with Dr. Snow (who was also facilitating the Washington program) and shared with her

those concerns. In response, Dr. Snow called Jane Doe No. 1—the daughter of two veteran

United States Military officers—“unpatriotic;” told Jane Doe No. 1 that she should consider

herself “lucky to go” on the trip; threatened to make her repay the partial program fee grant the

Honors College used to induce Jane Doe No. 1 to attend; and threatened to dock Jane Doe No.

1’s grade points before the course even began; a mantra Dr. Snow repeated and built upon in

Washington to exert control over Jane Doe No. 1.

       89.     Once in Washington, Jane Doe No. 1 learned TCU carried its legacy of bigotry

and racism beyond campus. When Jane Doe No. 1 arrived at her room for the summer at the




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Avenue Suite’s Georgetown on July 7, 2019, Jane Doe No. 1—the only African American

female in the Washington program—was greeted as she had been before. Her two assigned

roommates had taken all available closet space and commandeered the two available beds in the

room; relegating Jane Doe No. 1, who is six feet tall and 180 pounds, to the sofa bed in the open

area of the suite, with a small kitchenette. Hotel staff confirmed to Jane Doe No. 1 that the sofa

beds in guestrooms were not designed for adult or long-term use. When Jane Doe No. 1 asked

her roommates to make space for her in the closets the women refused and suggested that Jane

Doe No. 1 purchase containers to store her belongings for the duration of the trip.

           90.      When Jane Doe No. 1 told Dr. Fredrick Gooding (another Washington program

facilitator and Honors College professor) that she was being bullied into sharing the sofa bed

with her belongings, Dr. Gooding responded that the women would rotate beds and share space

with Jane Doe No. 1 during the program. Later that same week, on July 11, 2019, however, Dr.

Snow informed Jane Doe No. 1 that it was optional for Jane Doe No. 1’s roommates to rotate

beds and share closet space and confirmed that Jane Doe No. 1 was to be relegated to the sofa

bed and kitchenette combo for the entirety of the trip.

           91.      Unsurprisingly, the only two African Americans in the Washington program were

both made to sleep on sofa beds during the trip while their white counterparts were provided with

hotel quality queen beds. Both African-American students suffered physical harm associated

with long-term use of a sofa bed, however, “the psychological barriers facing [these] minority

students [were] as limiting and more painful.” 126 TCU’s conduct left the African American

students knowing that “their life at the University [and university sanctioned programs] [was]




126
      Yvonne Webb, Editorial, Multicultural Illusions Prevail, TCU DAILY SKIFF (Fort Worth), Apr. 19, 1988, at 1.




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generally worse than the life of the average white student” 127 and openly relegated Jane Doe No.

1 and her African-American colleague to second-class citizen status.

           92.      To make matters worse, Jane Doe No. 1’s roommates also regularly refused to

grant Jane Doe No. 1 access to the bathroom, located in the hotel suite, through the room with

the double queen beds. Jane Doe No. 1’s roommates regularly locked the door to their room,

segregating Jane Doe No. 1 to the sofa bed and kitchenette. This meant that Jane Doe No. 1 had

no access to a bathtub/shower or toilet at critical times. Jane Doe No. 1 was regularly forced to

brush her teeth, wash her face, and even groom herself in the kitchenette sink. When Jane Doe

No. 1 had to use the toilet, she was regularly made to do so in the hotel lobby restroom—

seven floors below—regardless of the hour.

           93.      Jane Doe No. 1 was so visibly in distress when having to journey from her hotel

room to the hotel lobby to relieve herself that hotel staff began to take notice. Indeed, Jane Doe

No. 1’s trips to the hotel lobby restroom were so frequent that it prompted hotel staff to contact

Jane Doe No. 1’s mother (whom they had met during the first week of the program) out of

concern that Jane Doe No. 1 was being abused on the trip.

           94.      When Jane Doe No. 1 complained to Honors College staff including Dr. Gooding

about the treatment from her roommates, true to form, Jane Doe No. 1’s sincere and legitimate

concerns were dismissed. Puzzlingly, Dr. Gooding even suggested that Jane Doe No. 1’s

treatment was her own fault. TCU did nothing to address Jane Doe No. 1’s concerns.

                 XVII. TCU’s disdain for racial minorities and women, like Jane Doe No. 1,
                       endangers their health and welfare.

           95.      TCU’s disregard for Jane Doe No. 1’s welfare during the domestic program did

not stop at the hotel. Though not disclosed in any of the provided materials, Jane Doe No. 1 was

127
      Cindy Cook, Editorial, Black—White: Do Both Have Problems?, DAILY SKIFF (Fort Worth), Feb. 4, 1977, at 4.




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regularly made to walk several miles in the heat of the day to and from various program

activities. It did not matter to TCU that the weather had reached the upper nineties causing a

heat wave and prompting heat advisories from the National Weather Service, including a “code

orange” air quality alert,128 or that Washington has one of the more extensive public

transportation systems in the Country.

         96.     Within first few days of walking miles on end in the searing Washington summer

heat Jane Doe No. 1 began to develop sores and blisters on her feet. After a few more days of

rubbing against her shoes and socks, these sores and blisters would burst soaking Jane Doe No.

1’s feet in puss and blood and oozing through her socks. Dr. Gooding was informed early on

about Jane Doe No. 1’s worsening condition and he was even sent the following images of Jane

Doe No. 1’s feet as evidence:




               Figure 4. Left hallux blistered and swollen.   Figure 5. Right hallux blistered, swollen and
                                                              oozing puss.




128
   Ian Livingston, PM Update: Excessive Heat Alert Extending Into Saturday as the Region Roasts Through the
Weekend, THE WASHINGTON POST (July 19, 2019), https://www.washingtonpost.com/weather/2019/07/19/pm-
update-excessive-heat-warning-extended-into-saturday-region-roasts-through-weekend/ (Code orange indicates air
quality that is unhealthy for sensitive groups.).




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            Figure 6. Left fourth phalanx blistered,                     Figure 7. Left fourth phalanx blister/sore
            swollen and full of puss and blood.                          ruptured.




             Figure 8. Left calcaneus blistered, swollen                Figure 9. Right calcaneus blistered, swollen
             and full of puss and blood.                                and full of puss and blood.




                  Figure 10. Left hallux blister/sore ruptured.   Figure 11. Left plantar blistered and
                                                                  swollen.




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       97.     Once again, rather than exercising his duty to Jane Doe No. 1, individually and as

an agent of TCU and at the very least reporting Jane Doe No. 1’s condition to the appropriate

personnel to provide Jane Doe No. 1 with some guidance and/or relief, Dr. Gooding did nothing.

Jane Doe No. 1 has permanent scars and on-going pain resulting from the sores and blisters

developed during the Washington program. To add insult to injury, throughout Jane Doe No. 1’s

podiatric health crisis, Dr. Snow would not miss an opportunity to remind Jane Doe No. 1 that

she was different from her classmates and treat her with hostility and complete disdain.

       98.     On Thursday July 11, 2019, during a walking excursion the entire group (except

for the other African-American student in the program) left Jane Doe No. 1 when she began to

slow her pace due to the sores and blisters developing on her feet. When Dr. Snow noticed that

the other African-American student had stayed back to walk closely with Jane Doe No. 1 and

ensure that someone considered her welfare, Dr. Snow became unhinged. Dr. Snow hurried back

to the two African-American students and began to walk menacingly behind them; harassing

Jane Doe No. 1 for walking too slowly. Dr. Snow then aggressively shoved herself between the

two African Americans to break them up. But that was not enough, Dr. Snow again publicly

assaulted Jane Doe No. 1, this time aggressively placing her hand on Jane Doe No. 1’s back and

driving her to the front of her peers. Dr. Snow would assault Jane Doe No. 1 repeatedly

throughout the trip; each time intentionally making contact with Jane Doe No. 1’s person without

Jane Doe No. 1’s consent and causing injury to Jane Doe No. 1. Dr. Snow further knew that her

contact with Jane Doe No. 1 was unwelcomed and offensive and/or provocative and that Jane

Doe No. 1 regarded it as such.

       99.     That same day, Dr. Snow also publicly humiliated Jane Doe No. 1 by harassing

Jane Doe No. 1’s mother while at the hotel; indignantly and loudly asking “what [Jane Doe No.




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1’s mother] was doing there” and “how she could afford to be there?” Perhaps Dr. Snow, like

the students in Dr. Arnold’s class, truly believed that “all black people are on welfare.” In

reality, Jane Doe No. 1’s mother, like other TCU parents who visited Washington, had paid to

come to support her daughter.

       100.    The very next day, at the National Museum of African American History and

Culture (the “NMAAHC”), Dr. Snow targeted Jane Doe No. 1’s mother again; demanding to

know why she was there. At lunch, out of the blue, Drs. Snow and Gooding publicly announced

to Jane Doe No. 1’s mother that Honors College funds would not be used to pay for Jane Doe

No. 1’s mother’s meal, as though Jane Doe No. 1’s mother needed charity. She did not.

       101.    Disturbingly, at the NMAAHC Dr. Snow also felt compelled to laughingly

remind Jane Doe No. 1 alone, in front of her peers, that she could experience the feeling of being

crowded into a slave cargo ship by traveling just a brief elevator ride below. Jane Doe No. 1 and

her mother were shocked and puzzled by Dr. Snow’s conduct, particularly because other TCU

parents were present at the hotel and the NMAAHC. Dr. Snow welcomed and treated the other

TCU (white) parents with excitement, warmth and respect. Jane Doe No. 1’s mother was the

only African-American parent present at the hotel and the NMAAHC.

       102.    On Friday July 12, 2019, the students were again made to walk several miles.

Jane Doe No. 1 was bleeding through her socks and again slowed her pace. This time Dr. Snow

targeted Jane Doe No. 1’s sex, gender, physical appearance and weight. Rather than offer some

respite to Jane Doe No. 1, Dr. Snow mocked her in front of Jane Doe No. 1’s peers saying, “at

least [Jane Doe No. 1] would be used to walking” when the trip concluded and suggested that

Jane Doe No. 1 go on a “low carb diet” and that all the walking would make Jane Doe No. 1

“much more healthier [sic].” Throughout the trip, Dr. Snow would also regularly “save” Jane




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Doe No. 1 a seat next to her when the group would go eat, forcing Jane Doe No. 1 to sit next to

Dr. Snow so that Dr. Snow could monitor Jane Doe No. 1’s food consumption. If Jane Doe No.

1 hesitated or otherwise indicated that she did not want to sit with Dr. Snow, Dr. Snow would

begin banging on the empty seat to hurry Jane Doe No. 1—like a dog—to her place at Dr.

Snow’s side. While Jane Doe No. 1 was eating Dr. Snow would stare at Jane Doe No. 1

intensely and with disgust. During each of these incidents Jane Doe No. 1 was forced to sit in a

designated area at Dr. Snow’s side, while other students were free to sit wherever they pleased.

By her conduct, Dr. Snow detained Jane Doe No. 1 without justification and without Jane Doe

No. 1’s consent each time she “saved” Jane Doe No. 1 a seat.

       103.    Dr. Snow was relentless. On Tuesday July 16, Jane Doe No. 1 was visibly in pain

while walking and was also sweating profusely in the summer heat.          Dr. Snow continued

publicly harassing Jane Doe No. 1 based upon her sex, gender and physical appearance by body

shaming and gibing her about her weight and sweating habits and stating (presumably because of

Jane Doe No. 1’s race, sex, physical appearance, weight, and height) that Jane Doe No. 1, who

was still a teenager at the time, looked like Dr. Gooding—an African American man in his

forties. That same day, when the group arrived at Capitol Hill, Jane Doe No. 1 was exhausted

from the walk and still in pain from the broken sores and blisters on her feet. Out of nowhere,

Dr. Snow assaulted Jane Doe No. 1 for the third time; aggressively pushing Jane Doe No. 1’s

back causing Jane Doe No. 1 to stumble and driving her to the front of the group “so that [Jane

Doe No. 1] could see better.” At six feet Jane Doe No. 1 was one of the taller group members

and had no difficulty seeing.

       104.    The following morning, on Wednesday July 17, 2019, Jane Doe No. 1’s body

began to shut down as she was experiencing the worst pain she had encountered in her life due to




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the condition of her feet and her slow breathing resulting from the summer heatwave. Still

bleeding through her socks; Jane Doe No. 1 decided to plead with Dr. Snow for sympathy and

reasonable accommodations. Jane Doe No. 1 messaged Dr. Snow that morning but was ignored

and received no response. Jane Doe No. 1 then left her sofa bed to find Dr. Snow at the hotel.

Once she located Dr. Snow, Jane Doe No. 1 asked to speak with her privately. The conversation

did not go well. When Jane Doe No. 1 explained that she was in pain; Dr. Snow responded by

questioning Jane Doe No. 1 and asking why Jane Doe No. 1 had come to the domestic program if

she knew she had health issues. Apparently suggesting that because of her disabilities Jane Doe

No. 1 should be excluded or otherwise denied access to the TCU-sanctioned summer program.

Dr. Snow then questioned how Jane Doe No. 1, was capable of getting around TCU. When Jane

Doe No. 1 explained that she didn’t walk several miles a day at TCU; Dr. Snow responded that

Jane Doe No. 1 knew there would be walking. Despite the fact that this was untrue, Jane Doe

No. 1 remained focused on the issues and attempted to offer Dr. Snow images of the sores and

blisters on her feet. Dr. Snow responded by putting her hand up to interrupt Jane Doe No. 1, and

blamed Jane Doe No. 1’s injuries on Jane Doe No. 1.

       105.   When Jane Doe No. 1 explained that the extreme summer heatwave was only

exacerbating the health complications that Jane Doe No. 1 was experiencing; Dr. Snow

questioned if Jane Doe No. 1 “now had a problem with the sun.” Jane Doe No. 1 is asthmatic,

a fact well- known to TCU and its agents as Jane Doe No. 1 had registered her condition

with TCU’s Student Disabilities Services since her enrollment at TCU. Moreover, Jane Doe

No. 1 included this information in the health conditions and medications questionnaire TCU

required her to fill out prior to her departure for the domestic program. When Jane Doe No. 1

again tried to refocus the issues and plead for sympathy and reasonable accommodations from




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Dr. Snow by explaining that she was experiencing difficulty breathing in addition to the pain of

her blistered feet; Dr. Snow replied that “she wished she had a wand to wave and fix” Jane Doe

No. 1. Dr. Snow did not need a wand or to “fix” Jane Doe No. 1. Dr. Snow only needed to

respond as a decent human being and exercise her duty to Jane Doe No. 1, individually and as an

agent of TCU and comport with TCU’s legal obligation to provide reasonable accommodations

to Jane Doe No. 1.

        106.    Jane Doe No. 1 wanted to leave the program due to the pain and hostile treatment

she was experiencing. When she mentioned wanting to leave on this and other occasions, Dr.

Snow reminded Jane Doe No. 1 that she was “lucky to go” on the trip; and threatened to (1)

make her repay the partial program fee used to induce Jane Doe No. 1 to attend; (2) revoke Jane

Doe No. 1’s credit for the course; and (3) kick Jane Doe No. 1 out of both the Honors College

and TCU. Dr. Snow would make good on at least one of her threats, which were designed to

willfully detain Jane Doe No. 1 in Washington, without justification and without Jane Doe No.

1’s consent. Even now Dr. Snow is hard at work continuing a severe and pervasive pattern of

hostile treatment of Jane Doe No. 1 to bring life to her remaining threats in constructive, if not

literal form.

        107.    Left without recourse in Washington, Jane Doe No. 1’s grievances were

forwarded to Dr. Karen Bell Morgan, TCU’s Associate Dean of Campus Life, on July 17, 2019.

Ms. Morgan was also sent the pictures of Jane Doe No. 1’s sore and blistered feet, which Ms.

Morgan forwarded to TCU’s Health Center professionals. TCU Health Center professionals

confirmed that Jane Doe No. 1 should seek immediate medical evaluation of her feet.

        108.    By now, TCU was fully aware of Jane Doe No. 1’s declining physical condition,

but rather than work to ameliorate Jane Doe No. 1’s condition, TCU and its agents doubled




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down. On Thursday July 18, Dr. Snow tasked Jane Doe No. 1 with being the group leader for

the day. This meant that Jane Doe No. 1 was to help provide other students with directions.

When Jane Doe No. 1 (who was still in pain but aware that Dr. Snow would not let her leave

Washington without making good on the aforementioned threats) briefly struggled with

directions, Dr. Snow, in an act of petty aggression, mocked Jane Doe No. 1—publicly calling

Jane Doe No. 1 a bad leader and belittling her in front of her peers. Jane Doe No. 1 had reached

her end, but with Dr. Snow’s repeated threats in mind and determined not to quit, she pressed on.

Wearied from enduring miles of walking with sore and blistered feet while being demeaned

along the voyage and offered no reasonable accommodations, Jane Doe No. 1 began taking Lyft

car service, at her expense, when she could. Each time Jane Doe No. 1 took Lyft rather than

walk on her blistered feet Dr. Snow would scowl and shake her head with clear disgust for Jane

Doe No. 1.

         109.   Dr. Snow’s disdain for Jane Doe No. 1 was no secret. In addition to the clear

verbal and nonverbal conduct Dr. Snow fashioned to harass Jane Doe No. 1, Dr. Snow openly

revealed to other students that she “hates [Jane Doe No. 1].” When Jane Doe No. 1 later

confronted Dr. Snow about whether she told other students she hated Jane Doe No. 1, Dr. Snow

smugly laughed in Jane Doe No. 1’s face before coldly and indirectly dismissing the claim. And

why would Dr. Snow do otherwise? Afterall, the answer to Jane Doe No. 1’s inquiry was

obvious as the evidence of Dr. Snow’s hatred for Jane Doe No. 1 is indisputable. Even still, Dr.

Snow’s hatred for, and reckless behavior toward Jane Doe No. 1 had not yet reached its lowest

point.

         110.   On or about July 18, 2019 several students, including Jane Doe No. 1, began to

notice bed bugs, spiders and mites in their hotel rooms. When one of Jane Doe No. 1’s




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colleagues—a white male—complained to Dr. Snow about the issue, Dr. Snow did not abruptly

place her hand up to interrupt him. Rather, Dr. Snow took seriously the white male student’s

concern and allowed the student to show her images of the bites on his arm and genuinely

examined the same. Though Dr. Snow initially incorrectly diagnosed the white male student’s

bed bug bites as spider bites, once the hotel confirmed that there was a bed bug infestation,

immediate measures were taken to place the white male student in more suitable

accommodations. The very next day, on July 19, 2019 when Jane Doe No. 1 noticed spiders

falling from her ceiling and bed bugs and other mites in her hotel room, she too sought Dr.

Snow’s aid. Unsurprisingly, Dr. Snow could not be bothered with Jane Doe No. 1 or her

welfare. Dr. Snow told Jane Doe No. 1 that “bugs live inside too” and to “stop talking about it”

and did not bother to examine Jane Doe No. 1’s pictures of the bug bites on Jane Doe No. 1’s

legs:




               Figure 12. Left tibia covered in bug bites.   Figure 13. Right tibia covered in bug bites.




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         111.     The bug situation in Jane Doe No. 1’s hotel room had gotten so bad that her

roommates vacated the room, but not before removing all of their belongs from the closets and

double queen bedroom and placing them in Jane Doe No. 1’s already cramped sofa

bed/kitchenette combo. Realizing once again that Dr. Snow would not help Jane Doe No. 1, Jane

Doe No. 1 herself pleaded with hotel staff, who provided Jane Doe No. 1 with bug spray. During

the early morning hours of July 20, 2019, Jane Doe No. 1, shaken at the sight of bugs seemingly

emerging from every crevice, began fumigating her hotel room with the bug spray provided by

the hotel. The fumes from the bug spray triggered Jane Doe No. 1’s asthma (which was already

agitated by miles long journeys in the summer heatwave); swelling her airways and tightening

the muscles that surround them until Jane Doe No. 1 had an asthma attack. Jane Doe No. 1 tried

to reach Dr. Snow or other TCU personnel at the onset of her attack only to learn that no

program facilitator was present, and that, upon reliable information and belief, Dr. Snow had

taken an impromptu trip to New York for the weekend. Jane Doe No. 1, in tears and in the midst

of an asthma attack once again pleaded with hotel staff for help. The hotel staff—not TCU

personnel—stayed with Jane Doe No. 1 as she implemented the emergency action plan

developed by Jane Doe No. 1, her parents and her physician. At all relevant times TCU was

aware of Jane Doe No. 1’s condition and of her emergency action plan. No TCU personnel were

present at the hotel or in Washington at all during Jane Doe No. 1’s life-threatening asthmatic

episode.129 Hotel staff communicated with Jane Doe No. 1’s mother yet again to inform her of

Jane Doe No. 1’s condition and state of her hotel room and Jane Doe No. 1’s mother booked and


129
   Upon reliable information and belief, TCU program facilitators, namely Drs. Gooding and Snow regularly left
the student’s unattended during late night/early morning hours, and at times, for days during the four-week summer
program. Further, upon reliable information and belief Drs. Gooding and Snow were regularly visibly intoxicated in
the presence of the students and/or upon arrival back to the hotel at any late night/ early morning hour as evidenced
by hotel footage.




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paid for a different hotel room for Jane Doe No. 1. Jane Doe No. 1 received no assistance from

TCU. To the contrary, when Dr. Snow returned from New York to learn Jane Doe No. 1 had

vacated her hotel room, she told Jane Doe No. 1 that it was against TCU policy for her to book

her own room. Ultimately, Jane Doe No. 1 was forced to return to the bug infested suite; the

very suite already vacated by Jane Doe No. 1’s roommates.

           XVIII. TCU’s present conscious hatred of racial minorities and women, like
                 Jane Doe No. 1, is insatiable and life-threatening.

       112.    The harrowing extent of Jane Doe No. 1’s ordeal during the first two-weeks of the

program left her bloodied and bowed. But TCU and its agents, chiefly Dr. Snow, would not rest

until Jane Doe No. 1 was completely broken. As the program entered its third week, Jane Doe

No. 1 was still in pain from walking and being in the summer’s heat, but alas Jane Doe No. 1,

had something to look forward to. The coming Friday, July 26, 2019 would mark the end of

Jane Doe No. 1’s teenage years. Jane Doe No. 1 was excited about her twentieth birthday

because when another student celebrated his birthday during the program Dr. Snow spared no

expense; treating the entire group to a lavish dinner at an expensive restaurant and allowing the

student to pick out his own cake without budget limitations.

       113.    As Jane Doe No. 1’s birthday approached, however, Dr. Snow was mum. When

one of the program participants—another racial minority female student—realized that Dr. Snow

intended to ignore Jane Doe No. 1’s birthday completely, the student herself set out to plan a

surprise birthday dinner for Jane Doe No. 1 on Friday, July 26, 2019. Prior to making a

reservation for the planned surprise dinner for Jane Doe No. 1 earlier that week, her colleague

checked the group itinerary to ensure there would be no conflict and confirmed that none existed.

When Dr. Snow learned of the surprise birthday plans for Jane Doe No. 1 on that same Friday

afternoon, however, she hurriedly created an all-expense paid “family dinner” and added it to the



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itinerary for Friday night in honor of Aaron Chimbel, a professor at St. Bonaventure University

and Dean of its Jandoli School of Communication. Dr. Snow knew her “family dinner” was in

direct conflict with Jane Doe No. 1’s surprise birthday plans.      Dr. Snow’s discriminatory

treatment of Jane Doe No. 1 was so pervasive and so public that another student even confronted

Dr. Snow. The student indicated that she was aware that Dr. Snow and/or the Honors College

had paid for another birthday dinner in addition to paying for another celebratory dinner for a

different student on a separate occasion during the program; that she had examined the itinerary

to be sure that there were no conflicts on Jane Doe No. 1’s birthday prior to making dinner

reservations for the same; asked Dr. Snow to reschedule the “family dinner”; and asked Dr.

Snow to honor her and/or the Honors College’s prior practice and pay for Jane Doe No. 1’s

birthday dinner as well. Dr. Snow refused to reschedule the last-minute family dinner and

responded that Jane Doe No. 1’s birthday dinner was “not optimal” and “definitely over budget”

all while simultaneously inviting everyone to attend the family dinner, for which the Honors

College paid. Dr. Snow also suggested that Jane Doe No. 1 accept being celebrated at the family

dinner meant to honor Professor Chimbel or in the alternative that Jane Doe No. 1 pick a desert

that she liked for everyone to share at the hotel after the family dinner. Dr. Snow then texted

Jane Doe No. 1 (who was unaware of the planned dinner) about the same, to be sure to ruin the

surprise. Due to the confusion caused by Dr. Snow’s deliberate efforts to create a conflict with

Jane Doe No. 1’s planned surprise dinner, Jane Doe No. 1’s surprise dinner was ultimately

cancelled.

       114.   When Jane Doe No. 1 learned of her surprise party and Dr. Snow’s deliberate

efforts to quash the same, Jane Doe No. 1 became deflated. To twist the knife, Dr. Snow

returned from the family dinner to the hotel visibly intoxicated, with a random cake with




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sparklers—sparklers which Dr. Snow had removed from the cake and performed an erratic dance

with. When Jane Doe No. 1 (visibly distraught by the outcome of her birthday) tried to speak

with Dr. Snow about the incident, she was again dismissed by Dr. Snow and lushly told

“everything worked out the way it was supposed to” and that it was “no big deal.” It was a big

deal!

        115.   That night—when Jane Doe No. 1 should have been celebrating her life—Jane

Doe No. 1 returned to her vacant hotel room in tears and considered suicide. Her birthday would

now be a reminder of the unconscionable depravity to which Dr. Snow would stoop to harm her.

But make no mistake, Jane Doe No. 1’s hopelessness and life-threatening despair was not about

an expensive birthday dinner or a cake. It was about TCU’s public displays of hatred, bigotry

and racism toward Jane Doe No. 1 from the moment she had stepped on its campus. It was about

Jane Doe No. 1’s inescapable second-class status at TCU and TCU-sanctioned activities. It was

about Jane Doe No. 1’s revoked merit-based scholarship. It was about TCU endorsing Jane Doe

No. 1’s segregation in its dorms and at the hotel. It was about the hostility and isolation Jane Doe

No. 1 experienced on TCU’s Moot Court team and throughout TCU. It was about the shame

associated with being made a token by TCU’s Honors College. It was about the ignorant, racist

and isolating ideologies TCU endorsed in Jane Doe No. 1’s classes. It was about the apparent

lack of concern for Jane Doe No. 1’s welfare exhibited by nearly everyone at TCU. It was about

the fact that TCU sexualized, body shamed, insulted and belittled Jane Doe No. 1 in front of her

peers on a daily basis. It was about Jane Doe No. 1 being summoned like a lap dog in front of her

peers nearly every time she ate. It was about Jane Doe No. 1 witnessing TCU publicly insult and

belittle her mother all while welcoming Jane Doe No. 1’s peer’s mother’s with open arms. It was

about TCU’s subtle reminder that in the span of a short elevator ride Jane Doe No. 1 could be




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transformed back to human cargo. It was about the repeated assaults Jane Doe No. 1 endured at

the hands of TCU. It was about stepping over unimaginable pain each day to earn a credit only

to have it ripped away by TCU’s indefensible legacy and present conscious contempt of racial

minorities and women. It was about the shame Jane Doe No. 1 felt for believing TCU’s self-

aggrandizing DEI campaign in the first place. It was that on her twentieth birthday, because of

TCU’s acts and omissions, Jane Doe No. 1 could no longer recognize herself.

       116.   Thank God that in the midst of Jane Doe No. 1’s sorrow and lamenting over who

she had become at TCU, she remembered who she was before arriving on TCU’s campus. Jane

Doe No. 1 mustered the strength and courage to call the National Suicide Prevention Lifeline for

the first time. Thereafter, Jane Doe No. 1 informed TCU of her mental state and informed

TCU’s “Chief Inclusion Officer” and Title IX Coordinator, Dr. Turner, that she intended to file a

formal complaint but would wait until the summer program ended to avoid retaliation from Dr.

Snow and other agents of TCU. Unfortunately, retaliation from Dr. Snow was unavoidable.

       117.   After learning of Jane Doe No. 1’s reports to TCU’s Campus Life Dean’s Office

and Title IX coordinator, Dr. Snow became even more hostile toward Jane Doe No. 1. On

Wednesday July 31, 2019, while speaking with Jane Doe No. 1, Dr. Snow violently slammed the

door in Jane Doe No. 1’s face mid-conversation. Later that same day while in public and in the

presence of Jane Doe No. 1’s peers, Dr. Snow harshly and openly berated Jane Doe No. 1 for

asking a question about an assignment. Dr. Snow even had the gall to take off her jacket, fold

her arms, and advance towards Jane Doe No. 1 yet again assaulting Jane Doe No. 1; threatening

bodily injury of which Dr. Snow has proven herself capable. Like the other assaults Dr. Snow

committed this act in the presence of other students. After weeks of hateful, disparate, and




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hostile treatment at the hands of TCU and its agents, chiefly Dr. Snow, Jane Doe No. 1 was

glazed and numb.

       118.   Miraculously, despite the unwavering hatred visited upon Jane Doe No. 1 by TCU

and its agents during the Washington program, Jane Doe No. 1 remained active and excelled

academically throughout. Jane Doe No. 1 even earned praise from program facilitators and

instructors evidencing her successful participation in the summer program despite her treatment.

Specifically, on July 22, 2019, Professor Russell Mack sent Jane Doe No. 1 the following

message:

              Please keep your positive attitude and your interest in
              government. We need young people like you to be thoughtful
              and constructive. Now that you better understand government
              and how DC works, please use that knowledge to help educate
              others in a positive, constructive way. That way you will be able
              to enjoy these priceless freedoms for all of your life.

              I enjoyed getting to know you and I hope your next two weeks are
              also interesting ones. If I can ever offer any career advice, please
              always feel free to call on me….

       119.   Sadly, Mack reneged on his praise of Jane Doe No. 1 in support of Dr. Snow and

TCU’s continuing scheme to harass and demean Jane Doe No. 1. Upon reliable information and

belief, in an act of retaliation Dr. Snow conspired with Professors Mack and Chimbel (of St.

Bonaventure University), with whom she had a meeting of the minds on or about August 3, 2019

and agreed to accomplish an object or course of action designed to discriminate against Jane Doe

No. 1 in violation of federal and state law as detailed herein. Jane Doe No. 1 has been

proximately damaged as a result of said conspiracy, including but not limited to the

psychological and physiological damage caused to Jane Doe No. 1 thereby and, importantly, the

loss of credit for the program course—a threat Dr. Snow ultimately made good on. Dr. Snow set




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this conspiracy in motion prior to the conclusion of the Washington program and revealed her

plans and intentions to Jane Doe No. 1 on the program’s final day.

       120.   On August 3, 2019, Dr. Snow summoned Jane Doe No. 1 to a “mandatory” one-

on-one meeting with her at the hotel. At this meeting Dr. Snow informed Jane Doe No. 1 that

she had determined that Jane Doe No. 1 had plagiarized numerous assignments during the

program and submitted them to herself and Professors Mack and Chimbel. Dr. Snow even

suggested that Jane Doe No. 1 had been plagiarizing all along; accusing Jane Doe No. 1 of

plagiarizing her Honors College admissions essay—a slap in the face to Jane Doe No. 1 who is

an award-winning scholar. Jane Doe No. 1, broken by Dr. Snow’s conduct including her most

recent attacks against Jane Doe No. 1’s character elected not to respond to Dr. Snow in the

moment. With this news Dr. Snow once again left Jane Doe No. 1 in Washington at the hotel

alone. Jane Doe No. 1 was distraught.

       121.   On that day—eight days after Jane Doe No. 1’s birthday, when she first

contemplated suicide—because of the conduct of TCU and its agents, Jane Doe No. 1 once again

questioned the value of her life and considered that she would be better off dead. Alone in her

hotel room, Jane Doe No. 1 visualized her death; she contemplated reaching for the knife in the

kitchenette that had become her summer home and ending her persisting psychological and

physiological pain. Once again Jane Doe No. 1’s prior instincts prevailed, and Jane Doe No. 1

summoned the young woman she was before TCU to find the courage to again call the National

Suicide Prevention Lifeline. Jane Doe No. 1’s psychological and physiological pain was so great

that Jane Doe No. 1 would have another suicidal episode the next day and have to summon the

courage again to call the National Suicide Prevention Lifeline on August 4, 2019. Again, Jane

Doe No. 1 continues to struggle with suicidal ideations to this very day. To this day, Jane Doe




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No. 1 must keep the National Suicide Prevention Lifeline number close; calling them on several

occasions and consulting with clergymen to assist her through her thoughts of self-harm

developed as a result of her treatment at TCU and TCU sanctioned activities.

       122.   When Jane Doe No. 1 returned home to her family prior to the start of TCU’s Fall

2019 semester, Jane Doe No. 1 was noticeably changed. The confident, warm, inviting, and

spirited young woman that arrived on TCU’s campus on Martin Luther King Jr. Day in 2018 had

disappeared. Only a shell of Jane Doe No. 1’s former self remained; still in physical and

psychological pain, replete with recurring nightmares of Dr. Snow assaulting her and publicly

humiliating her and her family. Jane Doe No. 1’s family began rotating responsibilities to

monitor her. For the first time Jane Doe No. 1 was on suicide-watch; a family burden which

continues to this day. Jane Doe No. 1’s TCU experience has forever altered herself and her

family, including Jane Doe No. 1’s (and her family’s) day-to-day activities. Indeed, Jane Doe

No. 1 struggles with her mental and physical health deficiencies caused by her TCU experiences

and receives treatment for the same. Jane Doe No. 1 has difficulty focusing at school and at

home and her nightmares regularly disrupt her sleep at night.       In fact, Jane Doe No. 1’s

hopelessness and fear caused at the hands of Dr. Snow, among other members of TCU, have

caused Jane Doe No. 1 to hurry off campus when not in class and move out of her on campus

housing and into a hotel room for fear that her presence on campus will inspire additional

harassing treatment.

       123.   Upon her return to campus, due to the severity and pervasiveness of TCU’s

actions (and at the advice and direction of Dr. Teresa Abi-Nader Dahlberg, TCU’s Provost and

Vice Chancellor of Academic Affairs, to whom Jane Doe No. 1 had reported her summer 2019

and overall TCU experience) Jane Doe No. 1 began desperately seeking help from clinicians in




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TCU’s Counseling and Mental Health Center (“CMHC”). Specifically, on August 22, 2019,

Jane Doe No. 1 first visited TCU’s CMHC. Jane Doe No. 1 also visited TCU’s CMHC several

times thereafter including on August 30, 2019, and on September 4, 2019, before locating a

mental health professional offsite to continue her treatment. On each visit to TCU’s CMHC,

TCU’s own clinicians diagnosed Jane Doe No. 1 with (1) academic issues; (2) depression; (3)

anxiety; and (4) suicidal ideation or self-harm: “onset July 26th when she was on a school trip

to Washington [] with the Honors College.” TCU is fully aware of what it has done.

       124.    Upon her return to TCU’s campus Jane Doe No. 1 also began working to

formalize her complaints of discrimination and hostile treatment with TCU’s Title IX

coordinator and Campus Life Dean’s Office. Specifically, on August 16, 2019, Jane Doe No. 1

conducted a video interview with Dr. Turner. Fighting back tears, Jane Doe No. 1 recounted her

summer experience to TCU’s Title IX coordinator. Again, on or about August 26, 2019, Jane

Doe No. 1 spoke with Leigh Holland, TCU’s Title IX investigator and Dr. Turner and emailed

them a written Title IX statement and a list of witnesses to the incidents that took place in

Washington that summer. The same correspondence was forwarded to Dr. Morgan in TCU’s

Campus Life Dean’s Office. At all relevant times TCU’s Provost, Title IX Coordinator and

Dean of Campus Life were aware of Jane Doe No. 1’s Washington experience; resulting

ideations of suicide; and present resulting requirement of medical treatment relating to the same.

On September 23, 2019, at 9:00 a.m. over a month after initiating her formal complaint to TCU’s

Title IX coordinator, Jane Doe No. 1 met with Dr. Turner. At this meeting Dr. Turner indicated

that his office had already interviewed the students Jane Doe No. 1 had identified as having

knowledge of Jane Doe No. 1’s experience in the Washington program and would be

interviewing the professors the following week. Nevertheless, Dr. Turner seemed to suggest that




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Jane Doe No. 1 should have pressed criminal charges against Dr. Snow for her repeated assaults

of Jane Doe No. 1 and stated that Jane Doe No. 1 “will be seeing some changes in staff.” No

such changes in staff occurred. In fact, Dr. Turner and TCU did nothing at all. To date, Jane

Doe No. 1 has not received so much as a follow up from Dr. Turner or TCU’s Title IX office.

Despite their awareness of Jane Doe No. 1’s plight, TCU authorities have not stopped the

onslaught of retaliatory acts of Dr. Snow and other Honors College personnel.

           XIX. TCU endorses a pattern of severe and pervasive treatment of racial
                minorities and women, like Jane Doe No. 1, that is inherited from its
                disgraceful legacy and proudly punishes racial minorities and women for
                daring to speak out against it.

        125.   While Jane Doe No. 1 was busy working desperately to rehabilitate her physical

and mental state resulting from her treatment at TCU and seeking justice for herself and other

racial minorities and women relating to the same, Dr. Snow and her cohorts were also busy

continuing to conspire against Jane Doe No. 1 in retaliation for speaking out against her

treatment. On August 27, 2019—in a conspired act of retaliation—Professor Mack emailed Jane

Doe No. 1 to inform her that he had determined that she committed plagiarism and was

recommending that Jane Doe No. 1 receive no credit for the summer course. On September 4,

2019 Dr. Rob Garnett, Associate Dean of the Honors College, sent a follow up email to Jane Doe

No. 1 indicating that Jane Doe No. 1 “had earned a grade of ‘no-credit’ (NC) for the course, i.e.,

a grade below 70%” based on Professor Mack’s recommended sanctions of “a zero for the two

assignments that were [allegedly] plagiarized.” Dr. Garnett’s correspondence further indicated

that:

               The NC grade was based on your performance in all three areas of
               evaluation for the course, as stated on the syllabus, and based on
               the assessments provided to me by all four participating
               instructors. In part it was the result of you earning grades of 0 on
               three of the four writing assignments (two due to academic



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              misconduct, the third due to your failure to submit a paper); but it
              was also due to your low scores for “class participation” (58%) and
              “questions and interaction with guest speakers and tour guides”
              (61%).

       126.   Though Jane Doe No. 1 was still attempting to recover from the injuries she

survived during the Washington summer program and reengage into her normal life and

academic course load, Jane Doe No. 1 once again had to step over her pain to address the hateful

and disparate treatment she continues to suffer at the hands of the Honors College. Jane Doe No.

1 initiated a formal appeal with Dr. Garnett to dispute the NC grade she was given for the

Washington program. Besides the fact that, unsurprisingly, TCU blew nearly every protocol

relating to its published academic appeal procedures, Jane Doe No. 1 focused on the facts. On

September 17, 2019, Jane Doe No. 1 emailed Dr. Garnett to request a breakdown of the grades

she received during the Washington summer program prior to her appeal hearing. On September

19, 2019 Dr. Garnett responded with the following:

              Grades for [Jane Doe No. 1]
              Class participation (50% of course grade)
              Dr. Gooding: 90 out of 100
              Dr. [sic] Chimbel: 70 out of 100
              Dr. Mack: 20 out of 100
              Dr. Snow: 60 out of 100
              Average score: 60 out of 100

              Written exercises (25% of course grade)
              Dr. Gooding: 90 out of 100
              Dr. [sic] Chimbel: 0 out of 100
              Dr. Mack: 0 out of 100
              Dr. Snow: 0 out of 100
              Average score: 22.5 out of 100

              Questions and interaction with guest speakers and tour
              guides (25% of course grade)
              Dr. Gooding: 94 out of 100
              Dr. [sic] Chimbel: 60 out of 100
              Dr. Mack: 40 out of 100
              Dr. Snow: 60 out of 100



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              Average score: 63.5 out of 100

              Overall average for the course
              (60*50%) + (22.5*25%) + (63.5*25%) = 51.5%

       127.   Dr. Garnett also sent statements from each of the aforementioned Honors College

faculty members/program facilitators. Of note, Dr. Gooding, finally found his conscience and

within his statement admitted the truth of Jane Doe No. 1’s academic capabilities and the truth

behind Jane Doe No. 1’s summer program experience:

              [Jane Doe No. 1’s] class participation was commensurate with that
              of the “Excellent Participation” rating during the first week.
              During our group discussions she made contributions and always
              answered when called upon. Of note is that after the first full day,
              she and three other classmates took advantage of my ability to
              secure free tickets for an evening performance at the Kennedy
              Center. The rest of the group declined, citing fatigue.

              [Jane Doe No. 1] readily interacted with guest speakers and tour
              guides during the first week, with the exception of perhaps the
              more structured Brazilian Embassy visit. Of note was after our
              group visit with Georgetown University Law Center Professor
              Anthony Cook, she and [another student] elected to skip the group
              lunch portion in order to spend additional time engaging this
              engaging individual. Based upon her possible future law school
              plans of which she disclosed to me, I thought it prudent for her to
              take advantage of this window of opportunity so long as she agreed
              to reunite with the group for the afternoon walking tour (of which,
              to my knowledge, she did so timely).

              In her daily journaling, [Jane Doe No. 1] employs a “stream of
              consciousness” approach where she will not employ traditional
              paragraph spacing and thoroughly expresses herself, flowing from
              one thought to another. While this style may not “answer” all of
              the sub-questions posed from the reflective writing prompts, they
              do often reveal a deeper connection to the material on a much more
              personal level.

              Overall, [Jane Doe No. 1] performed well during the first week.
              Towards the end of the first week I did notice an increase of
              personal spacing from other members of the general group,
              especially during transitions, but I interpreted this as a healthy
              means of “pacing oneself” given the unspoken dynamic of her



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               being the only African American female on the trip. While I
               personally did not witness anyone of any ill will in an impolite
               exchange with [Jane Doe No. 1], I speculated that after the first
               few days of excitement wore off, the reality of possibly being
               socially isolated in subtle yet invisible ways was starting to seep
               in.


       128.    Jane Doe No. 1’s other professors, however, could not be bothered with the truth.

In fact, it seemed as though Professor Chimbel could not be bothered at all. Chimbel provided

only four short sentences in support of the failing grades he issued to Jane Doe No. 1. In

addition to accusing Jane Doe No. 1 of plagiarism and scoring Jane Doe No. 1 zero for all

written assignments, Dr. Snow and Professors Chimbel and Mack also heavily docked Jane Doe

No. 1 for “class participation” and “questions and interactions with tour guides” citing subjective

and arbitrary bases for Jane Doe No. 1’s grade determination. Jane Doe No. 1 was shocked by

the grade break down and statements because they were in direct contravention with the praise

Professors Chimbel and Mack had given her during the trip. Jane Doe No. 1 pointed out this

disparity to Dr. Garnett during her appeal hearing on October 22, 2019 and even Dr. Garnett was

unable to reconcile the change in his colleagues’ attitudes and opinions regarding Jane Doe No.

1’s performance, or justify the inadequate responses provided to Jane Doe No. 1 regarding her

revoked credit. Jane Doe No. 1 knew that the allegations of misconduct made against her were

as much a sham as the appeals proceeding she had just concluded. Jane Doe No. 1 also knew

that she had been subjected to dissimilar grading practices than the rest of her colleagues that

summer (in conjunction with hostile and welfare-endangering conduct from TCU staff). The

truth is that at an institution like TCU, neither Jane Doe No. 1 nor other racial minorities and

women stood a chance.       Upon reliable information and belief TCU applied discriminatory




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grading practices to Jane Doe No. 1 and subjected her to grading standards that other students

were not subjected to resulting in the events detailed herein.

       129.    On November 5, 2019, Jane Doe No. 1 was notified that the Honors College had

denied Jane Doe No. 1s grade appeal continuing the retaliatory treatment against Jane Doe No. 1.

Still, for a scholar as decorated as Jane Doe No. 1 the ongoing hostile treatment and now

character assassination of Jane Doe No. 1 weighed heavily. On November 6, 2019, left hopeless

yet again by the acts and omissions of TCU, Jane Doe No. 1 disappeared. When Jane Doe No.

1’s family could not reach Jane Doe No. 1 for several hours, they panicked and began calling

everyone they could think of, including the police to see if a report had been made. Jane Doe

No. 1’s mother and uncle even began driving from their homes—each respectively hundreds of

miles away—towards TCU’s campus fearful of the worst. Eventually, Jane Doe No. 1’s family

contacted Onstar®, Jane Doe No. 1’s remote vehicle location service. Jane Doe No. 1’s family

found Jane Doe No. 1 sitting alone in her car expressionless. Jane Doe No. 1 had been sitting in

her car for hours after once again calling the National Suicide Prevention Lifeline.

       130.    TCU’s union with racism, bigotry and hatred is disgusting and unyielding. And

TCU’s present conscious disparate treatment of racial minorities and women, like Jane Doe No.

1, is life-altering and life-threatening. In fact, another racial minority student at TCU recently

confided in Jane Doe No. 1 that she too had suicidal ideations resulting from her treatment as

second-class at TCU. Jane Doe No. 1 provided said student with the phone number for the

National Suicide Prevention Lifeline—1-800-273-8255—because at a place that has normalized

the dehumanization of racial minorities and women, like TCU, every racial minority and woman

should have it handy.




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                                              COUNTS

              COUNT I—TCU violated Title VI of the Civil Rights Act of 1964

       131.    Jane Doe No. 1 realleges and incorporates by reference the allegations contained

in the previous paragraphs as if fully set forth herein.

       132.    At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and

under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU

faculty, staff administration, etc. were made aware of and took no action against the conduct of

its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

       133.    TCU violated Title VI of the Civil Rights Act of 1964 by discriminating against

Jane Doe No. 1 through a series of hateful and bigoted acts and adverse actions designed to

dehumanize Jane Doe No. 1 and other racial minorities and women and derail their academic

pursuit.

       134.    Title VI of the Civil Rights Act of 1964 provides: “No person in the United States

shall, on the ground of race, color, or national origin, be excluded from participation in, be

denied the benefits of, or be subjected to discrimination under any program or activity receiving

Federal financial assistance.” 42 U.S.C. § 2000d.

       135.    Jane Doe No. 1 is an African-American young woman who was discriminated

against because of her race. Accordingly, Jane Doe No. 1 is a member of a protected class.

       136.    TCU receives federal financial aid and assistance and is therefore subject to the

provisions of Title VI of the Civil Rights Act of 1964.




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        137.   As detailed extensively herein, as a direct result of TCU’s acts or omissions, Jane

Doe No. 1 was intentionally made to endure hostile and harassing treatment in her educational

pursuit because of TCU’s and its agents’ continued hatred of African Americans, including but

not limited to Jane Doe No. 1’s repeated segregation and dehumanization at TCU and in TCU-

facilitated housing, TCU academic programs, and TCU-sanctioned actives as detailed in

paragraphs 59 through 129.

        138.   As a direct result of TCU’s acts or omissions in promoting and endorsing the

hateful conduct that Jane Doe No. 1 was intentionally made to endure because of her race, Jane

Doe No. 1 suffered failing grades, academic sanctions and severe emotional distress and

psychological and physical injury arising from TCU’s complete and reckless indifference to Jane

Doe No. 1’s health and welfare, her segregation, isolation and dehumanization throughout her

matriculation at TCU, including while at the Washington summer program as detailed in

paragraphs 59 through 129.

        139.   Based on TCU’s conduct Jane Doe No. 1 was excluded from participation in and

denied the benefits of and subjected to discrimination under TCU’s educational programs and

activities.

        140.   As detailed herein Jane Doe No. 1 reported each instance of discrimination she

endured. Each time Jane Doe No. 1 reported these instances of discrimination, hostile and

disparate treatment, TCU acted with indifference or hostility towards Jane Doe No. 1. Moreover,

as a direct result of Jane Doe No. 1’s complaints to TCU, TCU and its agents, namely, Drs.

Snow, Gooding, Garnett, and Professor Mack as well as the Honors College, retaliated against

Jane Doe No. 1 as detailed in paragraphs 59 through 129.




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       141.    TCU's conduct as set forth herein is in violation of Title VI's strictures against

racial discrimination, disparate treatment and harassment and TCU is liable to Jane Doe No. 1.

       142.    As a direct and proximate result of the TCU’s conduct as alleged above, Jane Doe

No. 1’s academic and career prospects, earning potential, and reputation have been severely

harmed and she has suffered loss of educational and professional opportunities, loss of future

career prospects, and other direct and consequential damages and has suffered damages

including extreme emotional distress, and loss of capacity for the enjoyment of life.

       143.    By reason of the aforementioned harassment Jane Doe No. 1 has suffered and

continues to suffer, Jane Doe No. 1 is entitled to all legal and equitable remedies available under

Title VI, including an award of punitive damages, attorneys' fees and costs and other

compensation in an amount to be determined at the trial of this action.

         COUNT II—TCU violated Title IX of the Education Amendments of 1972

       144.    Jane Doe No. 1 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

       145.    At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and

under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU

faculty, staff administration, etc. were made aware of and took no action against the conduct of

its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

       146.    TCU violated Title IX of the Education Amendments of 1972 by creating a

hostile educational environment for Jane Doe No. 1 and excluding her from participation in,

denying her the benefits of, and subjecting her to discrimination in TCU and TCU-sanctioned




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activities through a series of acts of sexualized harassment, among other hateful conduct Jane

Doe No. 1 was made to endure as extensively detailed herein.

        147.    Title IX of the Education Amendments of 1972 provides, in relevant part, that:

“No person in the United States shall, on the basis of sex, be excluded from participation in, be

denied the benefits of, or be subjected to discrimination under any education program or activity

receiving Federal financial assistance.” 20 U.S.C. § 1681(a).

        148.    Jane Doe No. 1 is an African-American young woman. Accordingly, Jane Doe

No. 1 is a member of a protected gender.

        149.    TCU receives federal financial aid and assistance and is therefore subject to the

provisions of Title IX of the Education Amendments of 1972.

        150.    During the events herein, Jane Doe No. 1 was enrolled at TCU and participating

in and involved with TCU-sanctioned activities. TCU discriminated against Jane Doe No. 1 by

permitting a pattern or practice of sex and gender discrimination against Jane Doe No. 1 in

violation of Title IX as set forth herein.

        151.    Jane Doe No. 1 was subjected to severe and pervasive treatment including but not

limited to a hostile educational environment and sexualized and general harassment from TCU

agents including Dr. Snow, Dr. Gooding, Dr. Garrett as well as Professor Mack and visiting

Professor Chimbel as detailed in paragraphs 59 through 129.

        152.    Notably, Dr. Snow’s repeated intentional assaults of Jane Doe No. 1 in connection

with Jane Doe No. 1’s physical mobility and relentless harassment of Jane Doe No. 1 including

public comments about her physical appearance and body type designed to render her less

attractive and sexually desirable and humiliate her in the presence of her peers and others




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constitutes violations of federal sexual discrimination laws and protections under Title IX and

violations of TCU’s own stated policy.

        153.   Jane Doe No. 1’s hostile, disparate and harassing treatment was sufficiently

severe and/or pervasive to alter the conditions of Jane Doe No. 1’s education and created an

abusive educational environment for Jane Doe No. 1 and constituted a continuing violation.

        154.   Jane Doe No. 1 reported the sexualized and general harassment she endured to

representatives of TCU who had authority to address the discriminatory harassment.

        155.   TCU's representatives failed to adequately respond to or address the harassment.

Indeed, TCU's representative acted with deliberate indifference with respect to Jane Doe No. 1.

        156.   Moreover, as a direct result of Jane Doe No. 1’s complaints to TCU, TCU and its

agents, namely, Drs. Snow, Gooding, Garnett, and Professor Mack as well as the Honors

College, retaliated against Jane Doe No. 1 as detailed in paragraphs 59 through 129.

        157.   Indeed, whereas TCU has the right and does initiate Title IX disciplinary actions

on behalf of victims of violations of the same, TCU did not bring an action against Dr. Snow or

other agents of TCU on Jane Doe No. 1's behalf.

        158.   Jane Doe No. 1 suffered failing grades, academic sanctions and severe emotional

distress and psychological and physical injury resulting from her segregation, isolation and

dehumanization throughout her matriculation at TCU, including while at the Washington

summer program as detailed in paragraphs 59 through 129.

        159.   Based on TCU’s conduct Jane Doe No. 1 was excluded from participation in and

denied the benefits of and subject to discrimination under TCU’s educational programs and

activities.

        160.   TCU further retaliated against Jane Doe No. 1 for reporting the same.




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       161.    TCU's conduct as set forth herein is in violation of Title IX's strictures against

sexual and general harassment and TCU is liable to Jane Doe No. 1.

       162.    As a direct and proximate result of the TCU’s conduct as alleged above, Jane Doe

No. 1’s academic and career prospects, earning potential, and reputation have been severely

harmed and she has suffered loss of educational and professional opportunities, loss of future

career prospects, and other direct and consequential damages and has suffered damages

including extreme emotional distress, and loss of capacity for the enjoyment of life.

       163.    By reason of the aforementioned harassment Jane Doe No. 1 has suffered and

continues to suffer, Jane Doe No. 1 is entitled to all legal and equitable remedies available under

Title IX, including an award of punitive damages, attorneys' fees and costs and other

compensation in an amount to be determined at the trial of this action.

          COUNT III—TCU violated Section 504 of the Rehabilitation Act of 1973

       164.    Jane Doe No. 1 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

       165.    At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and

under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU

faculty, staff administration, etc. were made aware of and took no action against the conduct of

its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

       166.    TCU violated Section 504 of the Rehabilitation Act of 1973 by excluding Jane

Doe No. 1 from the participation in, denying Jane Doe No. 1 the benefit of, and subjecting Jane

Doe No. 1 to harassment in a program or activity receiving financial assistance because of Jane




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Doe No. 1’s asthma—a qualified disability of which TCU was fully aware as detailed in

paragraphs 83 through 129—and Jane Doe No. 1’s resulting physical and physiological injuries.

       167.    The Rehabilitation Act defines “program or activity” to “mean[] all of the

operations of…a college, university, or other postsecondary institution.” 29 U.S.C. §

794(b)(2)(A); 34 C.F.R. § 104.3(k). TCU is a “college, university, or other postsecondary

institution.” 29 U.S.C. § 794(b)(2)(A); 34 C.F.R. § 104.3(k). TCU and TCU-sanctioned activities

and programs, including the Washington summer program are therefore a “program or activity”

of TCU within the meaning of the Rehabilitation Act.

       168.    TCU has engaged in illegal disability discrimination, as defined by the

Rehabilitation Act, including without limitation (1) limiting Jane Doe No. 1 in the enjoyment of

rights, privileges, advantages, and/or opportunities enjoyed by others receiving TCU’s aids,

benefits or services; (2) utilizing methods of administration and course instruction, etc. that have

the effect of subjecting Jane Doe No. 1 and others with respiratory disabilities to discrimination

on the basis of handicap, and that have the purpose or effect of defeating or substantially

impairing accomplishment of the objectives of TCU’s programs and activities with respect to

people with disabilities; (3) failing to provide an auxiliary aid or service where necessary to

ensure that students with disabilities, like Jane Doe No. 1 are not excluded, denied services or

otherwise treated differently than others; and/or (4) failing to make reasonable modifications in

policies, practices or procedures where necessary to afford its services, privileges, advantages or

accommodations to persons with disabilities.

       169.    TCU has violated the Rehabilitation Act by, without limitation, failing to provide

reasonable alternatives to Jane Doe No. 1 who as detailed in paragraphs 83 through 129 was not

only visibly in distress due to her disability but also pled with Dr. Snow and other TCU




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administrators to provide accommodations based on her difficulty breathing during the excessive

walking and summer heatwave, thereby denying Jane Doe No. 1 the benefits of the summer

program, and even retaliating against Jane Doe No. 1 for complaining about the same. Indeed, as

detailed in paragraph 83 through 129, TCU not only failed to accommodate Jane Doe No. 1’s

disability, it even retaliated when Jane Doe No. 1 complained about her treatment and revoked

an academic credit from Jane Doe No. 1 in part, because she allegedly did not “participate” fully

in discussions (while struggling to breathe and walk) during the summer program.

       170.    TCU further retaliated against Jane Doe No. 1 for reporting the same.

       171.    TCU’s violations of Section 504 have caused and continue to cause psychological

and physiological harm to Jane Doe No. 1.

    COUNT IV—TCU violated Title III of the Americans with Disabilities Act of 1990

       172.    Jane Doe No. 1 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

       173.    At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and

under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU

faculty, staff administration, etc. were made aware of and took no action against the conduct of

its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

       174.    TCU’s conduct also violated Title III of the Americans with Disabilities Act of

1990, 42 U.S.C. § 12181 et seq.

       175.    Title III provides that “[n]o individual shall be discriminated against on the basis

of disability in the full and equal enjoyment of the goods, services, facilities, privileges,




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advantages, or accommodations of any place of public accommodation by any person who

owns… or operates a place of public accommodation.” 42 U.S.C. § 12182(a); 28 C.F.R. §

36.201(a).

        176.    TCU operates an “undergraduate, or postgraduate private school, or other place of

education,” which is a place of public accommodation pursuant to 42 U.S.C. § 12181(7)(J).

        177.    TCU has engaged in illegal disability discrimination, as defined by Title III,

including without limitation (1) limiting Jane Doe No. 1 in the enjoyment of rights, privileges,

advantages, and/or opportunities enjoyed by others receiving TCU’s aid, benefits or services; (2)

utilizing methods of administration and course instruction, etc. that have the effect of subjecting

Jane Doe No. 1 and others with respiratory disabilities to discrimination on the basis of handicap,

and that have the purpose or effect of defeating or substantially impairing accomplishment of the

objectives of TCU’s programs and activities with respect to people with disabilities; (3) failing to

provide an auxiliary aid or service where necessary to ensure that students with disabilities, like

Jane Doe No. 1 are not excluded, denied services or otherwise treated differently than others;

and/or (4) failing to make reasonable modifications in policies, practices or procedures where

necessary to afford its services, privileges, advantages or accommodations to persons with

disabilities.

        178.    TCU has violated Title III by, without limitation, failing to provide reasonable

alternatives to Jane Doe No. 1 who as detailed in paragraphs 83 through 129 was not only visibly

in distress due to her disability but also pled with Dr. Snow and other TCU administrators to

provide accommodations based on her difficulty breathing during the excessive walking and

summer heatwave, thereby denying Jane Doe No. 1 the benefits of the summer program, and

even retaliating against Jane Doe No. 1 for complaining about the same. Indeed, as detailed in




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paragraph 83 through 129, TCU not only failed to accommodate Jane Doe No. 1’s disability, it

even retaliated when Jane Doe No. 1 complained about her treatment and revoked an academic

credit from Jane Doe No. 1 in part, because she allegedly did not “participate” fully in

discussions (while struggling to breathe and walk) during the summer program.

       179.    TCU’s violations of Title III have caused and continue to cause psychological and

physiological harm to Jane Doe No. 1.

                             COUNT V—TCU Committed Fraud

       180.    Jane Doe No. 1 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

       181.    At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and

under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU

faculty, staff administration, etc. were made aware of and took no action against the conduct of

its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

       182.    TCU and TCU”s Board’s conduct also constitutes Texas common law fraud.

       183.    As detailed extensively herein, TCU and TCU Board’s self-aggrandizing DEI

campaign and accompanying promotional activities were specifically designed to market to

young people like Jane Doe No. 1 and represented to Jane Doe No. 1 that TCU fostered an

inclusive environment and had taken necessary steps to ensure an egalitarian academic

experience as detailed fully in paragraphs 56 through 129.

       184.    TCU and TCU Board’s continuing false representation of its academic and social

environment is not only gross but also a material misrepresentation designed to induce racial




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minorities and women to enroll in TCU despite its hateful legacy and present conscious contempt

for racial minorities and women.

       185.     Such representations are false.

       186.     TCU and TCU’s Board (given TCU’s extensive hateful history and present as

detailed herein) knew such representations were false at the time they were made.

       187.     TCU and TCU’s Board cannot seriously contend that they did not know such

representations were false, but even if they do, TCU and TCU’s Board made such

representations recklessly, as a positive assertion and without knowledge of its truth.

       188.     TCU and TCU’s Board explicitly published that such representations were made

with the intent that racial minorities and women, like Jane Doe No. 1 act on it.

       189.     Jane Doe No. 1 did indeed rely on said representations and applied to TCU, where

she was dehumanized, harassed and discriminated against on a continuing basis over the course

of two years.

       190.     Jane Doe No. 1 has suffered psychological and physiological harm as a direct

result of TCU and TCU Board’s misrepresentations.

  COUNT VI—TCU and Drs. Snow, Gooding, Garnett, Turner and Professors Mack and

                        Chimbel, Individually Acted Grossly Negligent

       191.     Jane Doe No. 1 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

       192.     At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and

under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU

faculty, staff administration, etc. were made aware of and took no action against the conduct of




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its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

       193.    TCU and TCU Board’s conduct also constitutes gross negligence.

       194.    TCU and TCU Board owed a legal duty to Jane Doe No. 1. TCU and TCU Board

owed Jane Doe No. 1 a duty as an institution of higher education to possess and apply the

knowledge and to use the skill and care that is used by a reasonable and prudent educational

institution. Moreover, and in the alternative, if necessary, as detailed in paragraphs 59 through

129. TCU faculty, staff and administration, etc. were aware of Jane Doe No. 1’s on-going

harassment at the hands of TCU agents. TCU had superior knowledge of the risks associated

with its agent’s continued conduct and the right to control the agent’s conduct, which resulted in

harm to Jane Doe No. 1.

       195.    Despite its knowledge of Jane Doe No. 1’s discriminatory, harassing and

disparate treatment, TCU and TCU Board acted with conscious indifference, willfulness,

recklessness and or wantonness toward Jane Doe No. 1, thereby breaching said duty.

       196.    But for TCU and TCU Board’s breach Jane Doe No. 1 would not have the

suffered psychological and physiological injury, which was proximately caused by their breach.

       197.    Additionally, and in the alternative, if necessary, Drs. Snow, Gooding, Garnett,

Turner and Professors Mack and Chimbel each individually acted negligently because they had a

special relationship with Jane Doe No. 1 as her university professors/administrators, and/or a

duty to exercise reasonable care to avoid the foreseeable risk of injury to Jane Doe No.1, and/or a

duty to protect Jane Doe No. 1 from the peril she experienced at TCU and TCU sanctioned

activities, which were under their individual control. The acts and omissions detailed herein

constitute breaches of said duties and but for Drs. Snow, Gooding, Garnett and Professors Mack




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and Chimbel’s breach Jane Doe No. 1 would not have the suffered psychological and

physiological injury, which was proximately caused by their breach.

 COUNT VII—TCU Negligently Hired, Retained, Supervised, and Trained its Employees

       198.    Jane Doe No. 1 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

       199.    At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and

under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU

faculty, staff administration, etc. were made aware of and took no action against the conduct of

its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

       200.    TCU and TCU Board’s conduct also constitutes negligent hiring, retention,

supervision, training and management.

       201.    TCU and TCU Board owed a legal duty to Jane Doe No. 1. TCU and TCU Board

owed Jane Doe No. 1 a duty as an institution of higher education to possess and apply the

knowledge and to use the skill and care that is used by a reasonable and prudent educational

institution. Moreover, and in the alternative, if necessary, as detailed in paragraphs 59 through

129. TCU faculty, staff and administration, etc. were aware of Jane Doe No. 1’s on-going

harassment at the hands of TCU agents. TCU had superior knowledge of the risks associated

with its agent’s continued conduct and the right to control the agent’s conduct, which resulted in

harm to Jane Doe No. 1.

       202.    TCU and TCU Board employed Drs. Arnold, Snow, Gooding, Garnett and

Turner, as well as Professor Mack during the incidents made basis of this lawsuit. TCU and




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TCU Board maintained the employment of these individuals despite their deplorable conduct as

detailed herein.

       203.    The aforementioned individuals were unqualified to handle their duties and

responsibilities as evidenced by their conduct towards Jane Doe No. 1 detailed herein.

       204.    TCU and TCU Board knew or should have known that hiring and retaining the

aforementioned individuals would create an unreasonable risk of injury to students.

       205.    TCU and TCU Board failed to use ordinary care in hiring, retaining, supervising,

training and managing the aforementioned individuals.

       206.    TCU and TCU Board’s negligence in hiring, retaining, supervising, training and

managing the aforementioned individuals was the proximate cause of Jane Doe No. 1’s injuries

and damages.

       207.    TCU and TCU Board’s actions and/or omissions were with conscious

indifference, malicious, fraudulent, willful, reckless, and/or wonton.

       208.    TCU and TCU Board’s actions and/or omissions proximately caused injury to

Jane Doe No. 1, which resulted and will result in Jane Doe No. 1 suffering past and future

damages, including, past and future medical expenses, past and future pain and suffering, past

and future mental anguish, past and future physical disfigurement, past and future physical

impairment, and past and future aggravation of Jane Doe No. 1’s condition.

       209.    Jane Doe No. 1’s injuries resulted from TCU and TCU Board’s gross negligence,

which entitles Jane Doe No. 1 to exemplary damages under Texas Civil Practice and Remedies

Code section 41.003(a).




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                   COUNT VIII—TCU Negligently Misrepresented Itself

       210.    Jane Doe No. 1 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

       211.    At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and

under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU

faculty, staff administration, etc. were made aware of and took no action against the conduct of

its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

       212.    TCU and TCU Board’s conduct also constitutes negligent misrepresentation.

       213.    TCU and TCU Board’s self-aggrandizing DEI campaign and accompanying

promotional activities were specifically designed to market to young people like Jane Doe No. 1

and represented to Jane Doe No. 1 that TCU fostered an inclusive environment and had taken

necessary steps to ensure an egalitarian academic experience as detailed fully in paragraphs 55-

129.

       214.    TCU and TCU Board made these representations in the course of TCU and TCU

Board’s business and in the course of a transaction in which they had interest.

       215.    Through the DEI campaign TCU and TCU Board supplied false information for

the guidance of others and did not exercise reasonable care or competence in obtaining or

communicating the information to others.

       216.    Jane Doe No. 1 justifiably relied on the representations of the DEI campaign as

detailed herein.




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       217.    But for TCU and TCU Board’s negligent misrepresentations Jane Doe No. 1

would not have enrolled at TCU and would not have endured unconscionable treatment and

suffered psychological and physiological injury, which was proximately caused by TCU and

TCU Board’s actions and/or omissions.

       COUNT IX—TCU and Dr. Snow, Individually Committed Multiple Assaults

       218.    Jane Doe No. 1 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

       219.    At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and

under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU

faculty, staff administration, etc. were made aware of and took no action against the conduct of

its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

       220.    TCU and TCU Board’s conduct also constitutes assault.

       221.    As detailed in paragraphs 83 through 129, TCU and TCU Board facilitated the

continuing assault of Jane Doe No. 1 by the Dean of TCU’s Honors College.

       222.    TCU through its agent Dr. Snow acted intentionally and knowingly in making

unwanted physical contact with Jane Doe No. 1, resulting in bodily injury to Jane Doe No. 1 and

further exacerbating her decline in health during the Washington summer program.

       223.    Moreover, TCU and TCU Board and its agent, Dr. Snow, knew or reasonably

should have believed that Jane Doe No. 1 would regard the multiple physical contacts of Dr.

Snow would be regarded as offensive or provocative by Jane Doe No. 1, who informed them of

the same.




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        224.   Further, after already assaulting Jane Doe No. 1 multiple times, TCU and TCU

Board and its agent, Dr. Snow, again acted intentionally or knowingly in threatening Jane Doe

No. 1 with imminent bodily injury as detailed in paragraph 83 through 129.

        225.   As a result of said conduct Jane Doe No. 1 suffered psychological and

physiological injury.

        226.   Additionally, and in the alternative, if necessary, the conduct detailed in

paragraphs 83 through 129 and incorporated in paragraphs 218 through 225 constitute assault for

which Dr. Snow is liable in her individual capacity.

  COUNT X—TCU and Drs. Snow, Gooding, Garnett, Turner and Professors Mack and

                        Chimbel Intentionally Inflicted Emotional Distress

        227.   Jane Doe No. 1 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

        228.   At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and

under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU

faculty, staff administration, etc. were made aware of and took no action against the conduct of

its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

        229.   TCU and TCU Board’s conduct also constitutes intentional infliction of emotional

distress.

        230.   TCU and TCU Board acted intentionally or recklessly toward Jane Doe No. 1’s

welfare as detailed extensively herein.




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       231.     As a result of TCU and TCU Boards actions and/or omission Jane Doe No. 1

suffered severe emotional distress.

       232.     TCU and TCU Board’s conduct throughout Jane Doe No. 1’s interactions with

TCU was extreme and outrageous.

       233.     TCU and TCU Board’s conduct proximately caused Jane Doe No. 1’s emotional

distress and TCU and TCU Board even admitted the same via its clinicians as detailed in

paragraph 59-129, which resulted and will result in Jane Doe No. 1 suffering past and future

damages.

       234.     Additionally, and in the alternative, if necessary, the conduct of Drs. Snow,

Gooding, Garnett, Turner and Professors Mack and Chimbel, whom each individually acted

intentionally or recklessly through their extreme and outrageous conduct as extensively detailed

herein proximately caused Jane Doe No. 1 to suffer severe emotional distress and thus they are

each individually liable for intentional infliction of emotional distress.

       235.     No alternative cause of action would provide an adequate remedy for the severe

emotional distressed caused by TCU and TCU Board, and Drs. Snow, Gooding, Garnett and

Professors Mack and Chimbel.

              COUNT XI—TCU and Dr. Snow Falsely Imprisoned Jane Doe No. 1

       236.     Jane Doe No. 1 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

       237.     At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and

under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU

faculty, staff administration, etc. were made aware of and took no action against the conduct of




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its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

        238.     TCU and TCU Board’s conduct also constitutes false imprisonment.

        239.     As detailed in paragraphs 82 through 128, TCU and TCU Board via its agent, Dr.

Snow, regularly forced Jane Doe No. 1 to sit next to her during meals at the Washington summer

program. TCU and TCU Board via its agent, Dr. Snow also refused to allow Jane Doe No. 1 to

leave the Washington summer program despite her health decline.

        240.     In doing so, TCU and TCU Board via its agent, Dr. Snow, willfully and with

malice detained Jane Doe No. 1 without Jane Doe No. 1’s consent and without legal authority or

justification.

        241.     Additionally, and in the alternative, if necessary, the conduct detailed in

paragraphs 83 through 129 and incorporated in paragraphs 236 through 240 constitute false

imprisonment for which Dr. Snow is liable in her individual capacity.

        242.     In addition to Jane Doe No. 1’s physical injuries Jane Doe No. 1 suffered

humiliation, shame, fright and mental anguish.

        243.     Because TCU, TCU Board and Dr. Snow’s conduct was malicious, Jane Doe No.

1 is entitled to actual and exemplary damages, including personal injury damages.

            COUNT XII—TCU Violated the Texas Deceptive Trade Practices Act

        244.     Jane Doe No. 1 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

        245.     At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and

under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU




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faculty, staff administration, etc. were made aware of and took no action against the conduct of

its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

       246.    TCU and TCU Board’s conduct also constitutes violations of the Texas Deceptive

Trade Practices Act (“DTPA”).

       247.    Jane Doe No. 1 is a consumer under the DTPA.

       248.    TCU and TCU Board may be sued under the DTPA for violations.

       249.    TCU and TCU Board through its DEI campaign employed false and misleading or

deceptive acts or practices in violation of the DTPA by failing to disclose (and even hiding) the

truth of its hateful legacy toward racial minorities and women. TCU and TCU Board via its

agent, Chancellor Boschini, also breached its express warranty that it had put in place measures

to create a more balanced learning community, among other express warranties offered by TCU

to Jane Doe No. 1 and other racial minorities and women. In doing so, TCU and TCU Board

subjected Jane Doe No. 1 to unconscionable courses of action, which took advantage of Jane

Doe No. 1 to Jane Doe No. 1’s detriment.

       250.    TCU and TCU Board’s aforementioned conduct was the producing cause of Jane

Doe No. 1’s damages.

COUNT XIII—TCU and Drs. Snow, Gooding, Garnett and Professors Mack and Chimbel

                              Conspired Against Jane Doe No. 1

       251.    Jane Doe No. 1 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

       252.    At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and




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under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU

faculty, staff administration, etc. were made aware of and took no action against the conduct of

its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

       253.    TCU and TCU Board’s conduct also constitutes civil conspiracy.

       254.    As detailed in paragraphs 107 through 129, TCU and TCU Board, via its agents

Dr. Snow and Professor Mack were members of a combination of two or more persons

comprised of TCU and Professor Chimbel, Dean of the Jandoli School of Communication at St.

Bonaventure University. Together, Drs. Snow and Garnett and Professor Mack on behalf of

TCU had a meeting of the minds with Professor Chimbel to discriminate and retaliate against

Jane Doe No. 1 in violation of federal and state law as detailed herein.

       255.    TCU and Chimbel succeeded in their conspiracy by revoking the credits they had

given to Jane Doe No. 1 based on discriminatory grading practices and causing her to receive a

grade of “NC” for her participation in the summer program.

       256.    As detailed herein, Jane Doe No. 1 was proximately injured as a result.

       257.    Additionally, and in the alternative, if necessary, Drs. Snow, Gooding, Garnett

and Professors Mack and Chimbel via the conduct detailed in paragraphs 107 through 129 and

incorporated in paragraphs 251 through 256 each individually conspired against and are liable to

Jane Doe No. 1.

              COUNT XIV—TCU Breached its Fiduciary Duty to Jane Doe No. 1

       258.    Jane Doe No. 1 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.




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       259.    At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and

under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU

faculty, staff administration, etc. were made aware of and took no action against the conduct of

its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

       260.    TCU and TCU Board’s conduct also constitutes breach of fiduciary duty.

       261.    TCU and TCU Board had a fiduciary duty to Jane Doe No. 1 based on an

informal relationship, arising from a moral, social, or purely personal relationship of trust and

confidence. Jane Doe No. 1 reasonably placed said trust and confidence in TCU—a university

which lured her to it by indicating that it would provide an egalitarian experience for Jane Doe

No. 1 as detailed herein.

       262.    TCU and TCU Board breached their informal duty to Jane Doe No. 1 by

subjecting her to the unconscionable acts detailed herein.

       263.    TCU and TCU Board’s breach resulted in injury to Jane Doe No. 1 and resulted in

benefit to TCU and TCU Board.

              COUNT XV—TCU Breached its Express Warranty for Services

       264.    Jane Doe No. 1 realleges and incorporates all the allegations contained in

preceding paragraphs of this Complaint as though fully rewritten herein.

       265.    At all relevant times TCU faculty, staff, administration, and other employees

and/or affiliates were acting within the scope of their employment and/or at the direction and

under the control of TCU and TCU’s Board. Moreover, at all relevant times appropriate TCU

faculty, staff administration, etc. were made aware of and took no action against the conduct of




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its agents, thereby ratifying their conduct and rendering TCU and TCU Board vicariously liable

for the conduct of their agents via the doctrine of Respondeat Superior.

       266.    TCU and TCU Board’s conduct also constitutes breach of express warranty for

services.

       267.    TCU and TCU Board sold educational services to Jane Doe No. 1.

       268.    TCU and TCU Board made representations to Jane Doe No. 1 about the quality or

characteristics of the services by affirmation of fact, promise, or description as detailed in

paragraphs 56-129.

       269.    Said representations formed the basis of TCU and Jane Doe No. 1’s bargain and

Jane Doe No. 1 relied on the same.

       270.    TCU and TCU Board breached their warranty by subjecting Jane Doe No. 1 to the

treatment described herein.

       271.    Jane Doe No. 1 has suffered psychological and physical injury as a result.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests relief against Defendants as follows:

       272.    A declaration that TCU and TCU Board’s conduct as alleged here has violated,

and continues to violate Title VI of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000d through

2000d-6, Title IX of the Education Amendments Act of 1972, 20 U.S.C. §§ 1681through 1687,

Section 504 of the Rehabilitation Act of 1973, 29 U.S.C § 794, and Title III of the Americans

with Disabilities Act, 42 U.S.C. §§ 12181 through 12189;

       273.    Award Jane Doe No. 1 actual damages, exemplary damage, including personal

injury damages, pre and post judgment interest, and court costs.




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       274.   Award of Jane Doe No. 1’s reasonable attorneys’ fees and cost as provided by

law;

       275.   Such other relief, in law and in equity, as the Court finds just and proper.

                                       JURY DEMAND

       Jane Doe No. 1 demands a jury trial in this action.

Dated: January 15, 2020.
                                             Respectfully submitted,


                                             WHITE & WIGGINS, LLP

                                             By:   /s/ Kevin B. Wiggins

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COMPLAINT                                                                             PAGE 91
